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  l.1ETHAL INJECTION EXECUTION MANUAL
                               _____ __ _ o.r.                                                       f




                          EXECUTION PROCEDURES

                                         FOR

                             LETI-IAL IN"JECTION

  This manual co}ltains a summary of the most significant events and departmental
  procedures to be followed in the process of carrying out the orders of the Tennessee
  Supreme Court regarding the imposition of death by lethal injection. It contains a
  detailed listing of some of the duties and responsibilities of certain key
  depa1·tmenta l personnel. ln addition., the manual covers institutional perimeter
  security prior to, during, and subsequent to an execution.

  It will be used as a guideline for the Warden to assure that operational functions
  are properly planned with the staff who have designated responsibilities m
  performing a judicially ordered execution by lethal injection.


                          SECTION VIII (PERIMETER SECURITY) IS


                                CONFIDENTIAL
                            AND IS NOT FOR PUBLIC RELEASE.




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                          I.   INTRODUCTION




           RIVERBEND MAXIMUM SECURITY INSTITUTION




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The Tennessee Department of Correction is responsible for the incarceration of convicted
felons serving sentences ranging from one year to death. Individuals sentenced to death
are executed at Riverbend Maximum Security Institution. Upon the exhaustion of an
inmate's appeals, the execution process shall begin.

In the capacity as Commissioner of the Tennessee Department of Correction, it is my duty
by law to oversee the humane and constitutional execution of individuals sentenced to
death by judicial authority in Tennessee. Tennessee law establishes lethal injection as the
primary method for carrying out a death sentence and authorizes the Department to
promulgate rules and regulations for the procedures for lethal injection. This manual
explains the procedures for lethal injection. It will be reviewed annually, or as needed, by
a designated panel.




                                              July 5, 201 8
Commissioner                               Date




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                           II.   DEFINITIONS




            RIVERBEND MAXIMUM SECURITY INSTITUTION




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                                     DEFINITIONS
The definitions listed below pertain only to the Lethal Injection Process within this manual.


 Catheter             A thin flexible tube that is inserted into a part of the body to inject
                      fluid.

Death Watch           A period of time immediately prior to an execution during which
                      special procedures are implemented in order to ensure that the
                      execution is carried out in a safe and orderly manner.

Death Watch Area An area that includes the inmate's cell(s), contact and non-contact
                 visitation areas, the control room, and the secured monitoring area.

Drip Chamber          A hollow device that provides a visual of the drip/flow.

EMT                   Emergency Medical Technician

Execution Team        The Execution Team shall consist of: the Warden, Associate Warden of
                      Security, Executioner, Extraction Team, Death Watch Team, N
                      Team, Lethal Injection Recorder, Facility Maintenance Supervisor,
                      ITS Security Systems Technician(s), and Escort Officer(s).

Extension Line        The clear tubing used to administer fluids.

Extraction Team       Execution Team members who are responsible for the removal,
                      restraint, and movement of the inmate during the time of execution.

Flash Chamber         A device that precludes blood leakage as a needle is removed from the
                      catheter and an IV unit is coupled to �he catheter.

Gurney                A wheeled stretcher for transporting.

IV                    Intravenous

Inventory Ledger Permanent record of Lethal Injection Chemicals maintained in the key
                 control area of the armory area of Building 7 at RMSI

Lethal Injection      A room where the Executioner administers the lethal injection
Room                  chemical(s) at the direction of the Warden.

LIC                   Lethal Injection Chemical(s)

Pan Tilt Zoom         The camera used by the Execution Team in the T ,ethal Injection Room.
Camera (PTZ)          The camera monitors the condemned inmate's IV site(s).

Solution Set          Equipment designed to administer an     IV.

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                                DEFINITIONS - CON'T

Syringe              A medical instrument used to inject fluids into the body or draw them
                     from it.

Tourniquet           A compression device used to cut off the flow of blood to a part of the
                     body, most often an arm or leg. It may be a special surgical instrument,
                     a rubber tube, a strip of cloth, or any flexible material that can be
                     tightened to exert pressure.

    Note:     Whenever the masculine pronoun is used in this manual, it applies
              equally to a female.




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       Ill. DUTIES OF MANAGEMENT AND ADMINISTRATIVE
                           PERSONNEL




           RIVERBEND MAXIMUM SECURITY INSTITUTION




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      RIVERBEND MAXIMUM SECURITY INSTITUTION
                    PERSONNEL




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                                           WARDEN
 Primary Role

To ensure that the procedures prescribed by law and as outlined m this manual are
performed, either by personal performance or by delegation.

 Duties:

    1.      To ensure that the security of the institution is maintained.

    2.      To ensure that condemned inmates sentenced prior to January 1, 1999, are given
            the opportunity to select electrocution or lethal injection as a legal means of
            execution at least 30 days before the execution by presenting the inmate with the
            Affidavit Concerning Method of Execution Form (Seep. 92).

    3.      To explain to the inmate the procedures and activities which will take place during
            Death Watch.

    4.      To control any contact between the condemned inmate and other persons.

    5,      To coordinate the notification of official witnesses of the date and time to be at the
            institution to witness the scheduled execution.

    6.      To coordinate the appointment of execution team staff member(s).

    7.      To select a person to serve as Executioner.

    8.      To set the precise hour and minute of execution, subject to approval of the
            Commissioner and the Department's General Counsel.

    9.      To arrange for the presence of a physician to carry out functions as set forth on
            page 19.

    10.     To coordinate with the Medical Examiner for disposition of the body.

    11.     To keep the Commissioner and Assistant Commissioner of Prisons informed of the
            progress towards and implementation of the execution.

    12.     To control activation of closed circuit TV to the victim family witness room.

    13.     To order the Executioner, either verbally or by gesture, to proceed with execution.

    14.     To cause the announcement to significant parties and the public of the fact that
            the sentence of execution has been carried out.




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                     ASSOCIATE WARDEN OF SECURITY
 Primary Role

 Assist the Warden in performing execution procedures and substitute for the Warden if he
 is unable to perform his duties.

 Duties:

    1.     To ensure the security of the condemned inmate,

    2.     To supervise preparation of the Death Watch cell area, Execution Chamber, and
           the condemned inmate for execution.

    3.     To coordinate and/or approve, with assistance by assigned security staff, visits and
           phone calls permitted to the condemned inmate.

    4.     To provide the final inspection of restraint devices to ensure the condemned
           inmate is secured on the gurney prior to placing IV catheters in each arm.

    5,     To ensure that any blinds between the witness room and the Execution Chamber
           are closed prior to the witnesses entering and opened after the witnesses are
           seated.

    6.     To supervise the removal of the body from the Execution Chamber.

    7.     To coordinate the release of the condemned inmate's body to the authorized
           recipient or coordinate burial at State expense in the event no one claims the body.




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                      LETHAL INJECTION RECORDER
Primary Role

Assist the Warden in carrying out his duties.

Duties:

   1.     To coordinate and supervise the movement of the Execution Team to and from the
          Execution Chamber, and aid in maintaining the team's anonymity.

   2.     To process applications for the selection of news media representatives to attend
          executions.

   3.     To complete the Lethal Injection and Execution Recorder Checklist. (See Section
          IX Forms)




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                          DEATH WATCH SUPERVISOR
Primary Role

To coordinate all security requirements for the inmate during the Death Watch and to
supervise all correctional officers assigned any responsibilities for direct supervision of the
inmate during Death Watch, including preparation of the condemned inmate.

 Duties:

    1.     To prepare a duty schedule for officers assigned this detail.

    2.     To review post orders for correctional officers and to become familiar with all
           functions of subordinates.

    3.     To ensure that the condemned inmate personally inventories his personal property
           and packs away all items he is not permitted to retain. The Death Watch
           Supervisor, inmate, and one witness will sign the property inventory. The sealed
           property will be retained in storage in the Property Room until removed by the
           inmate's designee.

    4.     To maintain a bound ledger of information related to Death Watch associated
           activities. This log will contain a record of all visitors, meals served, shaving,
           handling of mail, inmate behavior, movement, communications, etc.

    5. .   To permit only authorized persons to enter the Death Watch area. The Warden
           will provide a list of authorized personnel.

    6.     To maintain a sufficient amount of clothing in the inmate's size in order to provide
           a change of clothing each time the inmate leaves the cell. The Death Watch
           Officers will have custody of the clothing to be stored.

    7.     To ensure that cellular phones, cameras, audio, and video equipment are not taken
           into the Death Watch area or the Execution Chamber at any time during Death
           Watch or at the time of execution, unless authorized by the Warden.

    8.     To coordinate movement of witnesses entering and exiting witness rooms during
           the execution process.

    9.     To activate and deactivate the closed circuit TV and audio speaker systems at the
           prescribed times during the execution process.

    10.    To ensure the events pertaining to the execution are documented by the Lethal
           Injection Recorder on the Lethal Injection Execution Recorder Checklist.




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                           INSTITUTIONAL CHAPLAIN
Pl'i,nrnrv Huie

To offer and deliver chaplaincy services to the condemned inmate and the inmate's family
as needed.

Duties:

   l.      To ask the inmate to specify in writing the preferred funeral arrangements and the
           preferred recipients of personal property. If a legal will is requested, the Chaplain
           will coordinate with the TDOC Staff Attorney.

   2.      To say a brief prayer of intercession immediately prior to execution (if requested).

   3.      To assist in the release of the executed inmate's body to the authorized next-of-kin
           recipient or mortician through the State Medical Examiner.




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                     SECURITY SYSTEMS TECHNICIANS
 Primary, Role

To ensure that the closed circuit television and the audio systems between the Execution
Chamber and witness room(s) are functioning properly at the scheduled time of execution.




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                                        PHYSICIAN
 Physician's Pthna,ry Role

 To pronounce death.

 Duties:

    '1.    To be present at the time of execution in the capital punishment garage.

    2.     As an ultimate and last option, the physician may perform a venous cut-down
           procedure should the IV Team be unable to find a vein adequate to insert the
           catheter.

    3.     To examine the body for vital signs five minutes after the LIC has been injected.

    4.     To notify the Warden if the inmate is not legally dead.

    5. .   To pronounce death if no vital signs are detected.




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                                          IV TEAM
 Primai.yRole

 To establish properly functioning IV lines for administration of the lethal injection
 chemical(s).

 Duties:

    1.     To prepare the IV equipment.

    2.     To make sure the equipment used is in working order.

    3.     To locate sites for intravenous use.

    4.     To make sure vascular access is properly established.

    5.     To make sure the IV lines are flowing properly.

    6.     To document the injection of the LIC(s) on the Lethal Injection Chemical
           Administration Record sheet.




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                     FACILITY MAINTENANCE SUPERVISOR
Primary Role

To assist with the witnesses .




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                             EXTRACTION TEAM
Primary Role

To escort and secure the condemned inmate during the execution process.




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                              ESCORT OFFICER(S)
Primary .Role

, To accompany and guide witnesses during the execution process .




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                       CENTRAL OFFICE PERSONNEL




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                                   COMMISSIONER
 Pi'irnary Role

 To oversee the administration of judicial executions in Tennessee.

 Duties:

    1       To ensure that the chemical(s) used for lethal injection has/have been properly
            acquired, stored, and accounted for .

    2       Approximately ten minutes prior to the time scheduled for the execution, the
            Commissioner will establish telephone contact with the Governor's Legal Counsel.

    3       To communicate to the Warden any circumstances that could alter or delay the
            execution.

    4       To arrange for or mandate an Employee Assistance Program (EAP) debriefing as
            needed.




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                     ASSISTANT COMMISSIONER OF PRISONS
 Primary lfole

 To be stationed at the Command Post or location designated by the Commissioner and to
 work directly with the Commissioner and perform any assigned duties.

 Duties:

    1.     To serve as liaison to all support units and to conduct an operational debriefing of
           all security and procedural personnel after the execution.

    2.     To maintain telephone and/or radio contact with the Warden and other personnel.

    3.     To coordinate with the Metropolitan Nashville Police Department and Tennessee
           Highway Patrol and any additional security forces required.




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                      DIRECTOR OF COMMUNICATIONS
                          AND PUBLIC RELATIONS


 To coordinate all media operations associated with the execution.

 Duties:

     1.    To provide assistance to the Warden m obtaining telephone communications
           needed by media representatives.

     2.    To coordinate all visits by media representatives both prior to and subsequent to
           an execution.

     3.    To notify the media of the witness lottery by faxing an advisory to the Associated
           Press.

     4.    To attend the media drawing held at RMSI and send out a notification to the
           Associated Press regarding who was selected.

     5.    To compile a press kit including guidelines, specifics of the case for which the
           inmate is being executed, and other related policies and statutes needed for the
           execution.

     6.    To communicate with the Governor's communication staff about who will be
           available to address media inquiries.

     7.    To coordinate with the Governor's Director of Communications any press releases
           and public messages.

     8.    To establish a contact sheet with names, assignments, and contact numbers of
           each Public Information Officer involved. The Warden will be issued a copy.

     9.    To coordinate with the Facility Maintenance Supervisor to create a staging al'ea
           with a podium for news briefings.

     10.   To establish a schedule for news briefings.




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            DIRECTOR OF THE OFFICE OF INVESTIGATION
                       AND COMPLIANCE
 Primary Role

 To coordinate all external security and tactical activities associated with the execution.

 Duties:

    1.     No less than a week before the execution, to schedule a security meeting with
           participating external agencies.

    2.     To coordinate security assignments with participating external agencies.

    3.     In consultatjon with the Assistant Commissioner of Prisons, to coordinate tactical
           activities as necessary.

    4.     To work with the Escort Officer(s) in accompanying witnesses.




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                       DIRECTOR OF VICTIM SERVICES
Primm'y Role

To work with victims, family members, and other interested parties involved in the
execution process.

Duties:

   1.      To confirm the list of individuals registered for notification.

   2.      'l'o mail execution notification letters and packets. (See Section IX Forms)

   3.      To work closely with the victim liaison from the Attorney General's office.

   4.      To work with the Escort Officer(s) in accompanying witnesses.




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                     IV.   SELECTION AND TRAINING OF STAFF




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         EXECUTION TEAM MEMBER SELECTION CRITERIA
                     LETHAL INJECTION
 Certain persons are members of the Execution Team by virtue of their official position (i.e.
 Warden, Associate Warden of Security). The Warden selects the remaining team and
 considers at a minimum the following general criteria for other members:

    1.   Length of service.

    2.   Ability to maintain confidentiality.

    3.   Maturity.

    4.   Willingness to participate.

    5.   Satisfactory work performance.

    6.   Professionalism.

    7,   Staff recommendations to the Warden.

    8.   Review of personnel files by the Warden prior to selection.


 The following positions on the Execution Team are specialized and have specific
 requirements:

    1.   Three (3) EMTs - Paramedic                Certified Emergency Medical Technician

    2.   Three (3) Correctional Staff              Received IV training through           the
                                                   Tennessee     Correction    Academy     by
                                                   qualified medical professionals.

    3.   Facility Maintenance Supervisor           A person knowledgeable of the institution's
                                                   physical plant and equipment.

    4.   Security Systems Technician(s)            Must be an Electronic Security Systems
                                                   Specialist l or above with audio/visual
                                                   experience.




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               TRAINING OF EXECUTION TEAM MEMBERS
Execution Team

The Execution Team shall consist of: the Warden, Associate Warden of Security,
Executioner, IV Team, Extraction Team, Death Watch Team, Lethal Injection Recorder,
Facility Maintenance Supervisor, ITS Security Systems Technician(s), and Escort Officers.

r:J.'raining

   1.    All Execution Team members must read the Lethal Injection Execution Manual
         when they become members of the Execution Team. Additionally, the Warden or
         designee holds a class during which the manual is reviewed and clearly understood
         by all participants. At least annually, the Warden or designee holds an Execution
         Manual review class for all members of the Execution Team.

   2.    The Execution Team simulates Day 3 (Execution Day) of the Death Watch
         Procedures and the steps outlined in Section 4 for at least one (1) hour each month.
         Additjonal training is held within two weeks before a scheduled execution. A
         training record is maintained to document all staff members who participate in the
         training.

         The simulation includes all steps of the execution process with the following
         exceptions:

                    A.   Volunteers play the roles of the condemned inmate and physician.
                    B.   Saline solution is substituted for the lethal chemicals.
                    C.   A body is not placed in the body bag.

   3.    All training that occurs is documented. The documentation includes the times and
         dates of the training, the participants, and the training content.

Executioner

The Executioner receives initial and periodic instruction from a qualified medical
professional.




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V.     PROCUREMENT, PREPARATION, INTRODUCTION OF THE
              LETHAL INJECTION CHEMICAL, AND
              PROCEDURES OF ACCOUNTABILITY




                  RIVERBEND MAXIMUM SECURITY INSTITUTION




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                     CHEMICALS USED IN LETHAL INJECTION

The Department will use the following protocol for carrying out executions by lethal
injection:


Midazolam               100 ml of a 5mg/ml solution (a total of 500 mg)

Vecuronium              100 ml of a lmg/ml solution (a total of 100 mg)
Bromide

Potassium               120 ml of a 2 mEq/ml solution (a total of 240 mEq)
Chloride

       Chemicals used in lethal injection executions will either be FDA-approved
commercially manufactured drugs; or, shall be compounded preparations prepared in
compliance with pharmaceutical standards consistent with the United States
Pharmacopeia guidelines and accreditation Departments, and in accordance with applicable
licensing regulations.




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               COMPOUNDED PREPARATIONS:
        PROCUREMENT, STORAGE, ACCOUNTABILITY, AND
               TRANSFER OF THE CHEMICAL
 Procurement

 Upon receipt of an order setting an execution date, the Commissioner or his designee shall
 contact a physician to obtain a physician's order for the LIC. The Commissioner or his
 designee shall submit the physician's order to a licensed pharmacy or pharmacist to be
 filled. The Pharmacist shall compound alll drugs in a clean sterile environment in
 compliance with pharmaceutical standards for identity, st1·ength, quality, and purity of the
 compounded drug that are consistent with United States Pharmacopoeia guidelines and
 accreditation Departments and in accordance with applicable licensing regulations
 pertaining to pharmacies compounding sterile preparations. (See pp. 99-104) The
 Pharmacist shall arrange for independent testing of the compound for potency, sterility,
 and endotoxins. Compounded preparations shall be transferred, stored and maintained in
 accordance with the directions of the Pharmacy with which the Department has a
 Pharmacy Services Agreement which shall be in compliance with pharmaceutical standards
 and consistent with United States Pharmacopeia guidelines.

 Storage of LIC

   I.    When the LIC is received, a member of the Execution Team and the Warden take
         the LIC to the armory area of Building 7 at RMSI. The LIC is not stored in the
         weapon area of the armory due to the occasional employee traffic but rather in the
         key control section of the armory where there is the least employee need for access.
         The LIC is placed in an unmovable heavy gauge steel container with security grade
         locks.

   2.    All locking devices and storage containers are designed to prevent access to anyone
         without the proper keys or result in such destruction that entry into the container is
         unmistakable. There is only one key to access the storage container. That key is
         issued permanently to the Warden of RMSI. 'T'he Warden also has the pattern key to
         the container in his possession. There are no other duplicates produced. The Warden
         surrenders the key to no one other than the one member of the Execution Team
         designated for inventorying the LIC and only for the duration of the count and
         expiration checking of the LIC. Only the Warden or designee is allowed to access the
         storage container.

   3     The LIC on hand is monitored for expiration dates. All of the LIC boxes/bottles have
         an expiration date, and all are in tamper-proof containers. As the LIC reac.h es its
         expiration date, it shall be disposed of by hazardous waste pick-up.




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                                                                                      Attachment 4
 Accountability of LIC

    1.   A permanently bound ledger is maintained in the armory/key control area where all
         employees, including the armory/key control officer(s), sign each time they enter the
         area. The armory/key control officer performs a visual inspection of each container
         upon arrival at his workstation to ens_ure the proper band is in place and that the
         container has not been compromised in any way.

    2.   A permanently bound ledger is maintained in the storage area that contains a record
         of the LIC. Any LIC removed for use, disposal due to expiration, or for any other
         reason is deducted from the inventory. Any LIC received into the storage container
         is added to the inventory.

    3.   The storage container has a numbered security band that is broken prior to opening
         the container. The number of the band is recorded in the ledger. When the storage
         container is opened for any reason, the band is broken and the justification for entry
         is recorded in the ledger adjacent to the band number. When the storage container is
         secured and a new band is placed on the container, a new number is recorded in the
         ledger.

    4.   Upon receipt of the LIC, the Warden or designee proceeds to the armory storage
         area, secures the LIC, and adjusts the inventory appropriately. Prior to the LIC
         being placed in storage, the expiration date and lot number or other identifying
         marking is recorded to ensure that the LIC is properly disposed of at the time of
         expiration.

    5.   The Warden and the designee jointly verify the inventory of LIC on a semi-annual
         basis (January/July), at a minimum, and subsequent to each execution. The Warden
         and the designee make appropriate entries in the ledger with their full signatures
         that verify the correctness of the LIC count.

 Transfer of Location

    1.   After the LIC is signed out on the appropriate ledger in the armory for execution
         purposes, the LIC is placed in an inconspicuous container for transport to the
         Execution Chamber. The Warden's designee is responsible for the delivery of the
         LIC to the appropriate individuals in the Execution Chamber.

    2.   If the LIC is not used and not compromised in any way, the LIC is returned to the
         armory, re-entered on the perpetual inventory ledger, and secured in the
         refrigerator. The LIC is used only for the execution of the inmate for whom it was
         ordered.




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                                                                                      Attachment 4
           COMMERCIALLY MANUFACTURED DRUGS:
        PROCUREMENT, STORAGE, ACCOUNTABILITY, AND
               TRANSFER OF THE CHEMICALS
 Procurement

 Upon direction from the Commissioner or his designee, a member of the Execution Team
 checks the supply of chemicals and expiration dates. If it is determined that additional
 chemicals are needed, the member contacts the Procurement Officer at RMS!. The RMSI
 Procurement Officer contacts the Procurement Officer at De Berry Special Needs Facility
 (DSNF) to order the needed chemicals. When the chemicals are delivered, the Procurement
 Officer at DSNF contacts the Procurement Officer at RMSI. One of the members of the
 Execution 'l'eam picks up the chemicals at either the DSNF or RMSI warehouse. A. member
 of the Execution Team checks the supply of the chemicals, the concentration, a nd expiration
 dates. The Commissioner or his designee ensures that there are enough lethul injection
 chemicals kept in inventory at RMSI to carry out three executions.

 Storir~e of LTC

  1.     The member of the Execution Team and the Warden take the chemicals to the
         armory area of Building 7 at RMSI. The lethal injections chemicals (LICs) are not
         stored in the weapon area of the armory due to the occasional employee traffic but
         rather in the key control section of the armory where there is the least employee
         need for access. The chemicals are placed in unmovable heavy gauge steel containers
         with security grade locks.

  2.    AU locking devices and storage containers are designed to prevent access to anyone
        without the proper keys or result in such destruction that entry into the container is
        unmistakable. There is only one key to access each storage container. That key is
        issued permanently to the Warden of RMSI. The Warden also has the pattern key to
        the container in his possession. There are no other duplicates produced. The Warden
        surrenders the key to no one other than the one member of the Execution Team
        designated for inventorying the LICs and only for the duration of the count and
        expiration checking of the LICs. Only the Warden or designee is allowed to access
        the storage containers.

  3     The chemicals on hand are monitored for expiration dates. All of the chemical boxes
        and bottles have an expiration date, and all chemicals are in tamper-proof bottles or
        containers. As the chemicals reach their expiration dates, they are disposed of by
        hazardous waste pick-up .




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                                                                                      Attachment 4
Accountability of lJCs

    L    A permanently bound ledger is maintained in the armory/key control area where all
         employees, including the armory/key control officer(s), sig·n each time they enter the
         area. The armory/key control officer performs a visual inspection of each container
         upon arrival at his workstation to ensure the proper band is in place and that the
         container has not been compromised in any way.

   2.     A permanently bound ledger is maintained in the storage area that contains a record
          of each LIC . Any LICs removed for use, disposal due to expiration, or for any other
          reason are deducted from the inventory. Any LICs received into the storage
          container are added to the inventory .

   3.     Each storage container has a numbered security band that is broken prior to
          opening the container. The number of each band is recorded in the ledger. When the
          container is opened for any reason, the band is broken and the justification for entry
          is recorded in the ledger adjacent to the band number. When the container is
          secured and a new band is placed on the container, a new number is recorded in the
          ledger.

   4.     Upon receipt of the LICs, the Warden or designee proceeds to the armory storage
          area, secures the LICs, and adjusts the inventory appropriately. Prior to the LICs
          being placed in storage, the expiration date and lot number or other identifying
          marking is recorded to ensure that the LIC is properly disposed of at the time of
          expiration.

   5.    The Warden and the designee jointly verify the inventory of LI Cs on a semi-annual
         basis (January/July), at a minimum, and subsequent to each execution. The Warden
         and the designee make appropriate entries in the ledger with their full signatures
         that verify the correctness of the LIC count.

Transfer of Location

   1.     After the LICs are signed out on the appropriate ledger in the armory for execution
          purposes, the LICs are placed in an inconspicuous container for transport to the
          Execution Chamber. The Warden's designee is responsible for the delivery of the
          LICs to the appropriate individuals in the Execution Chamber.

   2.     In the event the LICs are not used and not compromised in any way, the LICs are
          returned to the armory, re-entered on the perpetual inventory ledger, and secured in
          the appropriate container.




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                                                                                        Attachment 4
                    LETHAL INJECTION CHEMICAL SET-UP
                            AND PREPARATION
   1.   Prior to an execution, a minimum of two members of the Execution Team bring the
        LICs from the armory area directly to the Lethal Injection Room. The amount of
        chemicals and saline is sufficient to make two complete sets of nine (9) syringes
        each. One set is color coded red and the back-up set is color coded blue. Each
        syringe is numbered in the order it is to be administered and labeled with the name
        of its contents. Only the Warden and one member of the Execution Team have a key
        to the Lethal Injection Room.

   2.   The LICs are drawn into syringes by one member of the Execution Team. Another
        member of the Execution Team observes and verifies that the procedure has been
        carried out correctly.

   3.   Only one syringe is prepared at a time. As they are prepared, the two sets of
        syringes are positioned in specific holding places in two separate ti-ays color coded
        red and blue. The syringes are numbered, labeled, and placed in the order they will
        be administered. One member of the Execution Team will perform this procedure
        while another member of the Execution Team observes and verifies that the
        procedure has been carried out correctly. The Chemical Preparation Time Sheet will
        document the preparation of the LIC . (See Section IX Forms)

   4.   Preparation in accordance with the directions of the Pharmacy with which the
        Department has a Pharmacy Services Agreement to create of one set of syringes as
        follows:

            a. Midazolam: The member of the execution team draws 50 cc of a 5 mg/ml
               solution of Midazolam in each of two syringes, for a total of 500 mg of
               Midazolam. These syringes are labeled Midazolam with numbers one (1)
               and two (2), respectively.

            b. Saline: The member of the Execution Team draws 50 cc of saline solution
               from the IV bag into a syringe, which is labeled Saline with the number
               three (3) .

            c. Vecuronium Bromide: The Vecuronium is in powder form and must be
               reconstituted with bacteriostatic water. The Vecuronium comes in 10mg
               vials each of which need to be reconstituted with 10 mL of bacteriostatic
               water. A total of JO vials is required to produce 100 mg of the chemical. The
               member of the execution team draws 50 cc of Vecuronium (I mg/mL solution)
               in each of two syringes, for a total of 100 mg of Vecuronium. These syringes
               are labeled Vecuronium with numbers four (4) and five (5), respectively.




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                                                                                     Attachment 4
            d. Saline: The member of the Execution Team draws 50 cc of saline solution
               from the IV bag into a syringe, which is labeled Saline with the number six
               (6) .

            e. Potassium Chloride: The member of the execution team draws 60 cc of a 2
               mEq/ml solution of Potassium Chloride in each of two syringes for a total of
               240 mEq/mL of Potassium Chloride. These syringes are labeled Potassium
               Chloride with numbers seven (7) and eight (8), respectively.

            f.     Saline: The member of the Execution Team draws 50 cc of saline solution
                   from the IV bag into a syringe, which is labeled Saline with the number nine
                   (9).

   5.   The tray is placed on the workstation in the Lethal Injection Room.

  6.    THIS PROCESS WILL BE REPEATED FOR THE SECOND SET OF
        SYRINGES

   7.   When the execution is complete, all sy;ringes and any of the prepared but unused
        LIC are sent to the Medical Examiner's office with the body.




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                                                                                       Attachment 4
                                    IV LINE SETUP
 REQUIRED ITEMS:              2 BAGS OF 0.9% SODIUM CHLORIDE
                              2 SOLUTION SETS
                              2 HEMOSTATS
                              EXTENSION SETS
                              TAPE

    1.   Two (2) bags of 0.9% Sodium Chloride Injection USP are hung in the injection room.
         The expiration dates must be checked.

    2.   A Solution Set spike is inserted into each bag with the clamp turned to the off
         position. The drip chamber is compressed until it is approximately 1/3 filled. The
         Solution Sets are 85 inches long. The length of the Solution Set may be purchased
         longer or shorter just as long as there is a port near the spiked end.

    3.   The port nearest the spiked end is opened. This may be done by tearing the plastic
         and rubber off leaving an open hole.

    4.   Once the port is opened, an extension is inserted. Extensions can be purchased in
         different lengths. The extension into the first port should be 18 to 24 inches in
         length. Extensions are added to each end of the Solution Set until it reaches the
         desired length. The ends should reach from head to toe of the condemned inmate.

    5.   Once the desired length is obtained, the lines should be filled with Sodium Chloride.
         The clamp is opened, allowing the port to fill. When it is filled it is clamped and
         capped off. The line that goes to the body continues to fill. The clamp is turned off
         and the line is capped.

    6.   The line is taped to the port (where the syringe is inserted) in place. The remainder
         of the line is placed out of the ports in the window. It should be taped in place to
         keep it from being pinched closed.

    7.   The Sodium Chloride bag and line on the left goes to the left side of the condemned
         inmate. The left side of the condemned inmate is nearest the wall / window and
         requires fewer extensions. Repeat #5 and #6. IV lines are ready.




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                                                                                     Attachment 4
 INSERTION OF A CATHETER AND CONNECTION OF IV LINES
 Strap Down and Location of the Vein

     1. The Extraction Team straps the inmate to the gurney in the Death Watch Area.

     2. The Extraction Team moves the gurney into place in the Execution Chamber and
         straps it to the floor. Members of the team place arm supports on the gurney and
         restrain the condemned inmate's arms securely to the gurney. The restraints are
         secure but not tight enough to slow or stop blood circulation.

     3. The Extraction Team exits the Execution Chamber after the condemned inmate is in
         place and secure.

     4. The IV Team enters the Execution Chamber with an instrument cart. One member
         of the IV team remains in the Lethal Injection Room.

     5. The member of the IV Team in the Lethal Injection Room signals the IV team to
        insert IV lines.

    6. Size, location, and resilience of veins affect their desirability for infusion purposes.
       The EMT inserts the first catheter into a vein on the right side of the inmate in the
       antecubital fossa area. If a catheter cannot be successfully inserted into the
       antecubital area, the EMT examines other locations for insertion in the following
       order:

             a.     Forearm
             b.     Wrist
             c.     Back of the hand
             d.     Top of the foot
             e.     Ankle, lower leg, or other appropriate locations as determined by the EMTs

    7. In the unlikely event that none of these veins are usable, the physician is called into
       the Execution Chamber to perform a cut-down procedure.

Ve:rtipi:m.c ture llnd lV Li11es

    1. The EMT(s):

            a . Place a tissue towel under the limb or body part to be used to start an IV.
            b. Place a tourniquet around the limb or body pal't 6-8 inches above the vein to
                be used.
            c. Find the best vein to use according to the succession outlined.
            d . Swab the area with an alcohol pad.
            e. Determine the size of the catheter to be used which is determined by the size
                of the vein, 18 gauge being the largest.
            f. Insert a catheter into the vein bevel side up at a shallow angle, feeding the
                plastic catheter sleeve into the vein.
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                      The flash chamber of the catheter fills with blood, which is the first
                      indicator the catheter is inside a vein.

     2. i\n IV Team member attaches the Solution Set line from the right Sodium Chloride
        bag to the catheter. This is a friction coupling and requires the line to be pushed
        into the catheter and twisted to secure the connection.

     3. An IV Tea1.11 member in the Execution Chamber signals the IV Team member in the
        Lethal Injection Room to open the clamp on the right bag of Sodium Chloride, near
        the spike, to allow a flow of Sodium Chloride into the vein.

     4. Members of the IV Team observe the IV for indication of a well-functioning line. The
        first indicator is that when the clamp is opened, there is a steady flow/drip inside the
        drip chamber. The second indicator is that the flash chamber becomes clear of blood
        as the Sodium Chloride begins to flow. When the IV Team is confident that there is
        a well-functioning line, the IV Team member in the Lethal Injection Room signals
        the IV team that there is a successful IV line.

     5. A member of the IV Team places the Tegaderm transparent dressing over the
        catheter and secures the line in place with tape.

     6. The second IV is then started on the left side of the condemned inmate and Steps 1-
        5 are repeated, using the left bag of Sodium Chloride.




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                                                                                        Attachment 4
         CHEMICAL ADMINISTRATION AND IV MONITORING
     1. All members of the IV Team monitor both catheters to ensure that there 1s no
         swelling around the catheter that could indicate that the catheter is not sufficiently
         inside the vein. The IV Team member in the Lethal Injection Room monitors the
         catheters by watching the monitor in his room, which displays the exact location of
         the catheter(s) by means of a pan-tilt zoom camera. The IV Team Members observe
         the drip chambers in both lines to ensure a steady flow/drip into each Solution Set
         line .

     2. Next, an IV Team member tapes both hands, palms up, to the arm support to
        prevent movement. The palms will be down should the back of the hand be used for
        the catheter.

     3. When the hands are taped in place, the members of the IV Team leave the Execution
        Chamber.

     4. Designated members of the IV Team enter the Lethal Injection Room and assume
        their pre-assigned stations.

                a.   One IV Team member observes the process, monitoring the catheter sites for
                     swelling or discoloration, and enters the times of the LIC and Saline
                     administration on the Chemical Administration Record sheet. (See Section
                     IX Forms)
                b.   One IV Team member observes the process and hands the
                     labeled/numbered/colored syringes to the Executioner in the prescribed
                     order.

     5. The Executioner selects either the left or right Solution Set line based on the
        flow/drip inside the drip chamber. If both lines are equal, the left line nearest the
        Executioner is used.

     6. When the Warden gives the signal to proceed with the execution, the Executioner
        clamps the line near the spike. The Executioner receives the first syringe from the
        member of the IV Team and inserts and twists it into the extension line.


         #_ _        DB,UG- SJi; Ql)Ji;N        IN I ~N'l'I F rER LABEL          VOLUME

                     MIDAZOLAM
                                           '"   [DRUG NAME, RED #1]              50 cc
         1.

         2.          MIDAZOLAM                  [DRUG NAME, RED #2]              50 cc

         3.          SALINE FLUSH               [DRUG NAME, RED #3]              50 cc

         4_          VE CURO NI UM              [DRUG NAME, RED #4J              50 cc
                     BROMIDE



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                                                                                         Attachment 4
         5.          VECURONlUM            [DRUG NAME, RED #5]                 50 cc
                     BROMIDE

         6.          SALINE FLUSH          [DRUG NAME, RED #6]                 50 cc

         7.          POTASSIUM CHLORIDE    [DRUG NAME, RED #7)                 60 cc

         8.          POTASSIUM CHLORIDE    [DRUG NAME, RED #8)                 60 cc

         9.          SALINE FLUSH          [DRUG NAME, RED #9]                 50 cc


     7. The Executioner pushes on the plunger of the #1 syringe (red) with a slow, steady
        pressure. Should there be or appear to be swelling around the catheter or if there is
        resistance to the pressure being applied to the plunger, the Executioner pulls the
        plunger back. If the extension line starts to fill with blood, the execution may
        proceed. If there is no blood, the Executioner discontinues with this line. He starts
        the process on the other line with the back-up set of syringes starting with syringe
        #l(blue) and following all of Step 6.

     8. An IV Team Member hands the syringes to the Executioner and both IV Team
        Members observe the correct order of the syringes as the Executioner injects the LIC
        and saline solution.

     9. After the last syringe has ·been injected, the Executioner closes the extension line
        with a clamp and opens the line below the spike to allow a drop of 1-2 drops per
        second in the drip chamber.

     10. The Executioner signals the Warden that all of the LIC and saline solution have
         been administered.




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                                                                                       Attachment 4
                     VI.   DEATH WATCH PROCEDURES

                            LETHAL INJECTION




            RIVERBEND MAXIMUM SECURITY INSTITUTION




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                                                                    Attachment 4
     STAFF RESPONSIBILITIES AND SPECIAL PROCEDURES
              FOR INMATES ON DEATH WATCH

Purpose:               The purpose of this operating procedure is to designate staff responsibilities
                       and establish uniform property, privileges, and institutional guidelines for
                       condemned inmates with sjgned court orders for execution.

Application: All inmates who have exhausted all appeals available to them and have an
             execution date within the next four days.

1.        Housing and Security Assignments

          A. The inmate is transferred to Building 8 (Capital Punishment) three (3) days
             prior to the scheduled execution.

          B. Correctional officers are assigned to the housing area in a manner consistent
             with TDOC Policy #506 .16.2, which sets forth the guidelines for the Death Watch
             Supervisor.

2.        Middle Tennessee ln s t it,Lttion al Notification a n d Advisem ent of Law En for e - rne.nt
          Ag nciies
          Upon determination of the execution date and time, the Commissioner, Director of
          Communications and Community Relations, Assistant Commissioner of Operational
          Support, Assistant Commissioner of Prisons, Correctional Administrator,
          Correctional Program Director, Wardens of Tenn essee Prison for Women, Deberry
          Special Needs Facility, and Turney Center may be advised by Riverbe nd's Warden
          or his designee . Should circumstances devel op which necessita te it, tactical activities
          are coordinated by the Director of Investi gation a nd CompJi,an ce a fter conl'erring
          with the Assistant Commissioner of Prisons. F ormulation of secur ity personn el is a t,
          the discretion of the Assistant Commissioner of Prisons.

3.        S t.at .- lss uc <l Pl' p r ty a n 11 os1-1es~ion Li mit

          The inmate is allowed only the items listed below. Any other item is considered
          contraband and confiscated in accordance with institutional policy.

          A.           Standard issue of outer clothing
          B.           One bed
          C.           One mattress, pillow, and standard issue of linens
          D.           One toothbrush
          E,           One tube of toothpaste
          F.           One bar of soap
          G.           One electric razor (to be issued and used under direct supervision on,ly)
          H.           Two towels, one washcloth
          I.           Two pairs of shorts and t -shirts (male inmates). Two pairs of panties and bras
                       (female inmates) . Underwear will he exchanged daily .
          J.           Toilet tissue as needed


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                                                                                              Attachment 4
           K.             Stationery - 12 sheets, 3 stamped envelopes, 3 pencils. Pencils will be m
                          possession of officer when not in use.
           L.             Religious materials as issued by institutional chaplain
           M.             Legal documents, books, and papers as requested
           N.             Medication prescribed by the institutional doctor (to be issued and used
                          under direct supervision only)
           0.             One walkman type radio (state owned)
           P.             One television outside door in front of cell (state owned)
           Q.             Newspapers as requested and available (no more than two in cell at a time)
           R.             Feminine hygiene items as necessary and appropriate

4.         _Commissnry Privile~

           The inmate has commissary privileges with purchasing and possession limits
           specified in post orders. Glass, aerosol, and metal containers are not allowed during
           the final days of pre-execution monitoring.

5.

           Contraband items found in the possession of condemned inmates are confiscated and
           disposed of in accordance with institutional Policy #506.15.1.

6.         Package Permits

           Package permit privileges are suspended for inmates on Death Watch. Any package
           already mailed is received and stored with the inmate's other property.

7.

           A.             The condemned inmate may request legal materials from the law library in
                          writing. Such materials are carefully inspected by the Death Watch
                          Supervisor. There will be no exchanges of communication with inmate legal
                          clerks and the condemned inmate.

           B.             The inmate may continue to receive periodical subscriptions, but may not
                          order new subscriptions. Periodicals, newspapers, etc., are allowed to
                          accumulate during the final week. Only two periodicals and two newspapers
                          may be retained by the inmate.

8.         Diet

           Three (3) meals per day are fed to all condemned inmates, except holidays and
           weekends, which will be two meals just as general population. Special dietary
           instructions for medical reasons are followed.

9.         Recreation

           Recreational activities fo1· inmates on Death Watch al'e suspended.

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                                                                                            Attachment 4
 10.     Television and Radio Privileges

         Television and radio privileges are the same as routinely provided, except that
         during the Death Watch period, the television is located outside the inmate's cell.

 l l.    PersonaJ and Legal Phone Calls

         The inmate may make unlimited calls to anyone on his pre-approved tetephone list.
         He may make and receive phone calls to legal counsel without restriction.

 12.     Visitation Privileges



                     L        Only those individuals on the inmate's approved visiting list are
                              allowed visits during the Death Watch.

                     2.       All visits are held in the Death Watch area, and physical contact
                              between the visitor(s) and inmate is not permitted. Visits are between
                              the hours of 9:00 am and 3:00 pm, and limited to two hours duration.

                     3.       The number of visitors allowed to visit at any one time is as flexible as
                              circumstances permit, and is at the discretion of the Associate Warden
                              of Security.

                     4.       A final visit, during which physical contact between the inmate and
                              immediate family is permitted, may be authorized by the Warden. The
                              Warden's decision is based on the individual circumstances of each
                              case.

                              a.     Security procedures, including searches, are of the mm1mum
                                     deemed necessary by the Associate Warden of Security.

                              b..    Contact visits are supervised by no fewer than two correctional
                                     officers chosen by the Death Watch Supervisor with the
                                     concurrence of the Associate Warden of Security.

         B.          R •Ii J iOU H

                     L        Priest(s), or numsters, of recognized religious faiths may visit the
                              inmate in the same manner as provided for social visits in 12 (A).

                     2.       A final visit by the inmate's priest, minister, or spiritual advisor may
                              be permitted by the Warden between 3:00 pm - 5:00 pm, prior to the
                              execution. This visit takes place at the front of the inmate's cell.



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                                                                                              Attachment 4
                              a.     The priest, minister, or spiritual advisor may not accompany
                                     the inmate into the Execution Chamber.

                              b.     At the inmate's request, a staff chaplain may visit on request
                                     and/or accompany the inmate into the Execution Chamber.

          C.          Legal Setvices

                      1.      The attorney of record or other Tennessee licensed attorney
                              representing the inmate may visit up to one (l) hour before the time of
                              execution.

                      2.      The attorney is permitted telephone contact with the condemned
                              inmate during the last hour prior to execution.

                      3.      Visits with attorneys are non-contact and are conducted with
                              provision for the privacy of verbal exchange but under full and
                              continuous observation by at least two correctional officers.

          D.          Media

                      1.      No media interviews are held with the inmate after placement on
                              Death Watch.

                      2.      Telephone interviews with media representatives are not permitted.

                      3.      Representatives of the news media are not allowed inside the
                              secure perimeter of the institution during the time of active
                              Death Watch or during an execution for any purpose
                              whatsoevert unless selected as a witness to the execution.




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                                     EXECUTION TEAM
 1.      The purpose of this operating procedure is to outline the duties and responsibilities
         of the Execution Team members in carrying out the death sentence by lethal
         injection.

 2.      The Execution Team shall consist of: the Warden, Associate Warden of Security,
         Executioner, IV Team, Extraction Team, Death Watch Team, Lethal Injection
         Recorder, Facility Maintenance Supervisor, Security Systems Technician(s), and
         Escort Officer(s). The identity of the Execution Team is confidential.

 3.      Readily available to the Execution Team are radios with holster, keys, and
         restraints.

 4.      The following procedures shall apply:

         A.         The Execution Team's Officer in Charge and/or the Assistant Officer in
                    Charge conducts a training session at least once each month at which time all
                    equipment will be tested. The training includes a simulated execution (i.e. IV
                    lines, JV Drip).

         B.         A week before a scheduled execution, the Officer in Charge and Assistant
                    assembles the Execution Team in the Execution Chamber area to prepare
                    and test all appliances and equipment for the scheduled execution.

         C.         The Warden ensures that the Execution Team carries out the following
                    instructions:

                    1.   Assemble all other members of the Execution Team in the Execution
                         Chamber before the scheduled execution and review their specific
                         assignments and duties.

                    2.   Ensure that all equipment is properly placed.

                    3.   The inmate is removed from the holding cell and placed in the
                         Execution Chamber by the Extraction Team members previously
                         assigned those duties, under the direction of the Assistant Officer in
                         Charge.

                    4.   When the condemned inmate is secured in place in the Execution
                         Chamber, all members of the Extraction Team will retire to the holding
                         cell area .

                    5.   When the lethal injection        process   has   been   completed,   the
                         Warden/designee is advised.

                    6.   After the physician pronounces the inmate deceased, the clesignee
                         informs the Commissioner that the sentence has been carried out.
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                    7.    The body is removed and placed in a body bag by the Execution Team
                          and Medical Examiner's staff. The LIC and syringes used are placed in
                          the body bag and closed.

                    8.    The body is placed in the Medical Examiner's vehicle.

                    9.    The Execution Team, under the direction of the Officer in Charge,
                          cleans the equipment and Death Watch area . The holding cell is cleaned
                          thoroughly wi th the mattress and pillow sanitized. Equipment shall be
                          stored in Hs prop r location. An entry is made in the post log
                          documenting the completion of these procedures.

                    10.   The Execution Chamber and Death Watch areas are secured. The
                          Execution Team reports to the Warden's Office for additional
                          instructions.




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                                                                                         Attachment 4
                              DEATH WATCH SUPERVISOR
 1.      The duties and responsibilities of this post are that of observation and supervision of
         all activities concerning a condemned inmate(s) during pre-execution (Death Watch)
         monitoring. The post is the entrance area leading into the Death Watch area. The
         Death Watch Supervisor assumes authority of all personnel assigned to pre-
         execution monitoring (Death Watch). The duties are the general supervision and
         control of other security personnel assigned to monitor the condemned inmate
         during the time under Death Watch to include preparation of the condemned
         inmate(s) prior to execution. There may be one Floor Officer per shift assigned.

2.       This officer must be a Correctional Lieutenant or higher. The officer reports directly
         to the Warden or Associate Warden of Security. During off-duty hours, he will
         remain on standby status unless relieved by another Lieutenant or Captain upon
         orders of the Warden or Associate Warden of Security.

3.       Equipment needed: radio with holster, keys, and restraints.

4.       Specific duties and responsibilities

        A            Immediate Action

                     1.    Upon notification of the assignment (normally when a Death Watch
                           reaches active stage), the Death Watch Supervisor prepares to assume
                           the duty schedule reflected above.

                     2.    He reviews the post orders for the Control Officer and Floor Officer
                           and becomes familiar with all functions of subordinates.

                     3.    He ensures that the condemned inmate, upon reaching active Death
                           Watch status, personally inventories and packs away all items he is
                           not permitted to retain. The inmate is permitted to retain a copy of
                           the inventory. The sealed property is retained in storage in Building 8
                           until ordered removed 01· surrendered to the inmate's designee .

                     4.    He is responsible for escorting the condemned inmate to Building 8
                           and placing him in a cell after strip searching and exchanging his
                           clothing.

                     5.    He ensures that all significant information is entered on the
                           Supervisor's Log. 1\L L Pt.;l-t80N8 1•1N'l'M I INC: 'fillS_ J\RE f . l!i.AN
                           PUR 1 0 E WlLJ, 'IG N l' N AN D ( U'I' and a record of activity must be
                           logged accurately.

                     6.    He ensures that sufficient clothing in the inmate's size is retained in
                           the preparation area to accommodate an exchange each time the
                           condemned inmate leaves his cell.

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          B.          Subordinate Personnel

                      1.    He supervises all subordinate personnel.

                      2.    He ascertains the phone numbers and addresses of all subordinate
                            personnel in order that they may be contacted after hours.

                      3.    He ensures that all orders and instructions are read and understood
                            by all subordinate personnel.

          C.          Routine Security Measures, Checks, Logs

                      1.    He maintains or causes to be maintained (by the Control Officer) a
                            "Supervisor's Log" of activities.

                      2.    He personally supervises the feeding of all meals during his shift. He
                            ensures that no inmates are utilized in the feeding of any meal during
                            an active Death Watch, including preparing the trays.

                      3.     He keeps all unauthorized personnel out of the area.

                      4.     He ensures that the security of the area is reported to the Control
                             Room each half-hour during an active Death Watch.

                      5,     He does not permit anyone to enter the condemned inmate's cell
                             except by order of the Warden, Associate Warden of Security or Shift
                             Captain. The only exception is a life-threatening emergency.

                      6.     He ensures that the condemned inmate is handcuffed from behind
                             anytime he leaves his cell. The inmate remains handcuffed until he is
                             returned to his cell. (The inmate may be handcuffed in the front if a
                             restraint belt is used. Restraints may be removed if the inmate is
                             secured in a non-contact visiting room .)

                      7.    Any time the inmate is moved, he will receive a double escort.

                      8.    At least one (1) officer remains in the area, even if it is temporarily
                            vacant.

                      9.     He ensures that the area is kept clean and orderly. The inmate's
                             holding cell is cleaned daily by assigned staff. The inmate is moved to
                             an adjoining ceU while the clean:ing process is being accomplished.

          D.          Normally the inmate receives telephone calls from a special extension
                      plugged in at his cell location. When the telephone is not in use, ensul'e its
                      sccurjty and storage away from the cell.


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         E.          Emergencies and Other Contingencies

                     L     In the event of self-inflicted or other injury to the inmate, the Death
                           Watch Supervisor takes immediate and decisive action. He contacts
                           the medical clinic immediately to send assistance.

                     2.    He personally supervises the dispensing of any medication on a single
                           unit dosage basis.

                     3.    He immediately notifies the Shift Supervisor, Associate Warden of
                           Security, or Warden in the event of an emergency.




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                                     CONTROL MONITOR
1.       At the beginning of the Death Watch, the officer assigned to this post will assume
         his duties.

2.       This officer must be a Correctional Corporal or higher. The officer reports directly to
         the Death Watch Supervisor, Associate Warden of Security, or Warden at the
         beginning of pre-execution monitoring un_til relieved or until the execution is stayed
         or carried out.

         A.           Immediate Action

                      1.    Upon notification, the officer assumes the duties and responsibilities
                            as described herein and the shift supervisor is alerted of the delegated
                            assignment.

                      2.    The Control Monitor begins maintenance of the Death Watch
                            Supervisor's log ensuring the recording of signjficant detailed
                            information.

                      3.    During pre-execution monitoring, the Control Monitor ensures that
                            only the following persons are authorized to enter the area:

                            a.     Warden
                            b.     Associate Warden
                            c.     Captain/Lieutenant
                            d.     Officers to assist in routine functions (i.e ., showers, escort,
                                   shakedown) as authorized by Death Watch Supervisor
                            e.     Any medical or security personnel deemed appropriate in an
                                  'emergency situation
                            f.     Prison Chaplain
                            g.     Commissioner
                            h.     Assistant Commissioner of Operational Support
                            1.     Assistant Commissioner of Prisons
                            J.     General Counsel

                      4.    He ensures the cleanliness of the area as well as the cell area during
                            pre-execution monitoring.

         B.           Routine Security Measures, Security Checks, and Logs

                      1.    He keeps an accurate chronological log of post activities .

                      2.    He keeps a sign-in and sign-out log fo1· every person who enters or
                            leaves the Death Watch area.

                      3.    He maintains close survemance of subordinate personnel.

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                    4.     He keeps all unauthorized personnel out of the area, to include
                           inmates, other employees, and visitors.

                    5.     He reports the security of the post to the Control Room every thirty
                           minutes.

                    6.     He personally ensures that the condemned inmate is handcuffed
                           (behind his back) anytime he leaves his cell. A restraint belt may be
                           used. The handcuffs may be removed when the inmate is receiving
                           non-contact visits.

                    7.     He ensures that when a condemned inmate is moved, he is escorted by
                           two officers designated by the Death Watch Supervisor.

                    8.     He ensures that when the condemned inmate is moved from his cell,
                           he is searched and placed jn different clothing. The same clothing
                           may be reused until soiled, so long as it is thoroughly inspected before
                           reissuing.

        C.          Visiting

                    1.     He ensures that all visiting is non-contact and is held in the visiting
                           area next to the Control Room, unless otherwise directed.

                    2.     He ensures escorts for visiting during pre-execution monitoring are
                           provided by two experienced correctional officers assigned by the
                           Death Watch Supervisor.

                    3.     He ensures that supervision of visiting for condemned inmates in pre-
                           execution monitoring is designated by the Death Watch Supervisor.

                    4.     He ensures that an accurate log of pertinent information to include
                           names of each visitor, time of arrival and departure of each visitor,
                           and inmate is maintained by the officer assigned to a supervised
                           visitation.

                           a,     The number of persons authorized and the visiting hours are in
                                  accordance with specific instructions issued by the Warden or
                                  Associate Warden of Security.

                           b.     Allowable commissary items are listed in Section E.

        D.          He ensures that the inmate is allowed only the items listed below. Any other
                    item is considered contraband and confiscated in accordance with
                    institutional policy.

                    I.     Standard issue of outer clothing

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                    2.    One bed

                    3.    One mattress, pillow, and standard issue of linens

                    4.    One toothbrush

                    5.    One tube of toothpaste

                    6.    One bar of soap

                    7.    One electric razor (to be issued and used under direct supervision
                          only)

                    8.    Two towels, one washcloth

                    9.    Two pair of shorts and t-shirts (male inmates). Two pairs panties and
                          bras (female inmates). Underwear will be exchanged .daily.

                    10.   Toilet tissue as needed

                    11,   Stationery - 12 sheets, 3 stamped envelopes, 3 pencils (Pencils will be
                          in possession of officer when not in use.)

                    12.   Religious tracts as issued by Institutional Chaplain

                    13.   Legal documents, books, and papers as requested

                    14.   Medication prescribed by institutional doctor (to be issued and used
                          under direct supervision only)

                    15.   One walkman type radio (state owned)

                    16.   One television outside door in front of cell (state owned)

                    17.   Newspapers as requested and available (no more than two in cell at a
                          time)

                    18.   Feminine hygiene items as necessary and appropriate

        E.          The inmate may order and purchase the following items on the first day of
                    Death Watch status:

                    1.    Soft Drinks (opened by officer and served in a paper cup)

                    2.    Candy bars

                    3.    Cookies, crackers, potato chips
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                    Note: All orders and deliveries are inspected and delivered by the officer.
                          This includes removal of non-transparent candy wrappers. He avoids
                          handling of contents except with a napkin, tissue, or sanitary
                          disposable gloves.

        F.          Telephone Calls

                    1.    The condemned inmate may receive authorized telephone calls while
                          in pre-execution monitoring status.

                    2.    Specific instructions for each phone call are given by the Warden,
                          Associate Warden of Security or Death Watch Supervisor, and are
                          logged (no exceptions). Each phone call is supervised.

                    3.    The inmate receives telephone calls from a special extension plugged
                          in at his cell location. When the telephone is not in use, the Control
                          Monitor personally ensures its security and storage away from the
                          cell.

        G.          Emergencies and Other Contingencies

                    1.    If any employee is taken hostage, he is without authority regardless of
                          rank.

                    2,    In the event of self-inflicted or other injury to the inmate, the Control
                          Monitor takes immediate and decisive action. He contacts the medical
                          clinic immediately to send a physician or ranking medical person if a
                          physician is not available.

                    3,    The Control Monitor immediately notifies the Warden, Associate
                          Warden of Security, Death Watch Supervisor, and Shift Supervisor.




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                                                                                           Attachment 4
                              FLOOR OFFICER MONITOR
1.      The duties and responsibilities of this post are in the direct superv1s1on and
        monitoring of a condemned inmate's activities during the final days of pre-execution
        monitoring.

2.      This officer may be a correctional officer or higher. The officer reports directly to the
        Control Monitor. The officer is posted in the area directly in front of the cells. He
        must remain alert on his post at all times, maintaining direct observation of the
        condemned inmate.

&.      Equipment required: radio with holster and restraints

4.      Specific Duties and Responsibilities

        A           Immediate Action

                    Upon notification, the officer assumes the duties and responsibilities as
                    described herein, and the shift supervisor is alerted of the delegated
                    assignment.

        B.          Routine Security Measures, Security Checks, and Logs

                    1.,   The Floor Officer Monitor closely observes the condemned inmate's
                          activities and immediately reports to the Death Watch Supervisor or
                          Control Monitor any unusual circumstances or activities .

                    2.    He ensures that all eating utensils and trays are removed from the
                          cell when not in use.

                    3.    He remains posted at the cell front, but may enter the condemned
                          inmate's cell with the assistance of a second officer if circumstances
                          warrant it.

                    4.    The cell door key(s) remains in the possession of the Control Monitor
                          except as needed.

                    5.    He converses freely with the inmate, but avoids opinionated or
                          inflammatory statements. He does not discuss personal feelings
                          regarding the death penalty. He does not make promises to the
                          inmate. All requests by the inmate not covered herein are referred to
                          the Death Watch Supervisor.

                    6.    He does not leave his post unless properly relieved.

                    7.    He visually inspects and thoroughly examines all items permitted into
                          or out of the inmate's cell. He carefully examines all clothing sent
                          from the clothing room .
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                    8.    He performs a very thorough strip search of the inmate any time the
                          inmate enters or exits his cell.

                    9.    He exchanges the inmate's clothing any time the inmate enters or
                          exits the cell. The same clothing may be reused until it becomes
                          soiled.

                    10.   He ensures that the condemned inmate is handcuffed behind his back
                          any time he leaves his cell. The inmate remains handcuffed until he is
                          returned to his cell. The inmate may be handcuffed in front if a
                          restraint belt is used. Restraints may be removed if the inmate is
                          placed in a secure, non-contact visiting room .

                    11.   He ensures that all post orders are being followed. It is expected that
                          all floor officer monitors conduct themselves in a professional manner.
                          A calm, mature atmosphere should be maintained.

                    12.   The officer is responsible for the da1ly cleanliness of his area and the
                          cell areas. Normally, the day shift is responsible for sweeping and
                          mopping the entire area. However, the officer ensures that the area
                          remains in a state of cleanliness and trash containers are emptied
                          during his tour. All trash is to be personally removed by staff and
                          deposited in the appropriate containers located outside the secure
                          confines of the institution.

                    13.   He maintains or causes to be maintained (by the Control Officer) a
                          Supervisor's Log of Activities.

                    14.   He personally supervises the feeding of all meals during the shift. He
                          ensures that no inmates are utilized in the feeding of any meal to the
                          condemned inmate during an active Death Watch, including preparing
                          the trays.

                    15.   He keeps all unauthorized personnel out of the area.

                    16.   When the inmate on death watch is female, the floor officer monitor
                          ensures that a privacy screen is used to shield the inmate from sight
                          of male staff and visitors while she is showering, using the toilet, or
                          changing clothing.




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         DEATH WATCH PROCEDURES - LETHAL INJECTION
                                              DAYl
     1. Security staff are assigned to posts in the Death Watch area. The supervisor is a
         Correctional Lieutenant or higher.

     2. Death Watch logs are activated during the entire Death Watch period. All activity
        unique to the Death Watch and execution must be documented. Areas addressed
        include, but are not limited to: inmate's behavior, actions, movements,
        communications initiated and received concerning Death Watch activities.

     3. The condemned inmate is moved to Death Watch status in Building 8.

     4. The inmate's property is inventoried and stored as specified in TDOC Policy #504.02.

     5. The institutional chaplain begins daily visits with the inmate.

     6. The visiting status of the inmate changes to non-contact.

     8. Designated personnel test execution-related equipment to include the closed circuit
        TV, telephones, intercoms, etc.

     9. Inmate clothing is obtained and issued as needed.

     10. The Chaplain requests instructions for release of the inmate's body in writing. If no
         recipient is designated, the Warden arranges for a pauper's burial.

                                              DAY2
     1. The Food Service Manager is advised of meal needs for TDOC and other agency
         support staff.

     2. The inmate orders his last meal.

     3. The Chaplain confirms funeral arrangements with the family, if available.




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                            DAY 3 - EXECUTION DAY
     1. Security Systems personnel test the closed circuit TV system and the audio system.

     2. The Food Service Manager prepares and serves the last meal. The inmate may
        request a special meal. The meal is provided within reason as determined by the
        Warden. Cost must not exceed $20.00.

     3. The Director of Communications and Public Relations arrives to handle media
        inquiries.

     4. The LIC(s) is/are removed from secured storage and delivered to the Lethal Injection
        Room.




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                               DAY 3 -EVENING SCHEDULE

5:00 pm

    1. By prior planning, the Execution Team arrives and reports directly to the
        Executioner waiting area in Building 8. Their identities are known by the fewest
        number of staff necessary.

    2. Beginning at 5:00 pm, the only staff authorized in the capital punishment unit are:

            a.      Commissioner or designec
            b.      Warden
            c.      Associate Warden
            d.      Lethal Injection Recorder
            e.      Death Watch Supervisor and assigned officers
            f.      Chaplain
            g.      Physician and associate
            h.      Executioner (Executioner waiting area)
            1.      IVTeam
            J.      Extraction Team

        Any exceptions to the above must be approved by the Warden or
        Commissioner.

    3. The inmate is dressed in cotton trousers, shirt, cotton socks, or cloth house shoes,

    4. Official witnesses report to the Administration Building conference room no later
       than 5:30 pm. They are greeted by Escort Officers, processed through checkpoint,
       and moved to the Parole Board Room in Building 8, where they remain until final
       movement to the witness room.

    5. Immediate family members of the victim report to the Administration Building no
       later than 6: i5 pm and are greeted by Escort Officers. These witnesses are security
       cleared and escorted to the conference room in Building 8, where they remain until
       final movement to the victim family members witness room.

    6. The Lethal Injection Recorder or designee and designated EMTs report to the
       Execution Chamber for preparation. The Lethal Injection Recorder or designee
       checks the phones in the Execution Chamber.

    7. The Medical Examiner's staff and the physician are stationed m the capital
       punishment garage.




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                                                                                      Attachment 4
6:30 pm
    1. Victim family member witnesses are secured in the Building 8 conference room by
       the Escort Officers no later than 6:45 pm.

    2. Official witnesses are secured in the Building 8 Parole Board Room by the Escort
       Officers no later than 6:45 pm.

7:00 pm
    1. Beginning at 7:00 pm, the only staff authorized to be in the Execution Chamber are
        the Warden, those TDOC employees designated by him to carry out the execution,
        the Attorney General/designee, and the Defense Counsel witness.

    2. At the command of the Warden or Associate Warden of Security, the Extraction
       Team approaches the holding cell and asks the condemned inmate to approach the
       cell door and be handcuffed. After being handcuffed, he is asked by the Extraction
       Team Leader to step back and place his hands above his head on the wall at the rear
       of the holding cell. (If the condemned inmate refuses to cooperate, the Extraction
       Team enters the holding cell and removes the inmate).

    3. The Extraction Team places the condemned inmate on the gurney and secures him
       in restraints.

    4. The condemned inmate is moved to the Execution Chamber.

    5. The Letlial Injection Recorder or designee records the time the condemned inmate
       enters the Execution Chamber.

    6. The IV Team establishes IV lines into both arms as instructed in Section V of this
       manual.

    7. Official witnesses and victim family members are secured in the appropriate witness
       rooms.

    8. The Attorney General/designee and the Defense Counsel witness will exit the
       execution chamber and be secured in the official witness room.

    9. The closed circuit television camera and audio system are activated .




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 7:10 pm
     1.   Blinds to the witness room(s) are opened by the Warden and Associate Warden of
          Security.

     2.   The Warden contacts the Commissioner to ensure that no last minute stay or
          reprieve has been granted.

     3.   The Warden permits the condemned inmate to make a last statement.

     4.   The Warden gives the signal to proceed and the Executioner begins to administer
          the first chemical. The Lethal Injection Recorder documents the time the process
          begins.

     5.   After 500 mgs of midazolam and a saline flush have been dispensed, the
          Executioner shall signal to the Warden, and await further direction from the
          Warden.

     6.   The Warden shall wait two minutes following the administration of midazolam and
          the saline flush before assessing the consciousness of the inmate.

     7.   At this time, the Warden shall assess the consciousness of the condemned inmate
          by brushing the back of his hand over the condemned inmate's eyelashes, calling
          the condemned inmate's name loudly two times, and grabbing the trapezius muscle
          of the shoulder with the thumb and two fingers and twisting. Observation shall be
          documented. The condemned inmate's unresponsiveness will demonstrate that the
          inmate is unconscious, and the Warden shall direct the Executioner to resume with
          the administration of the second and third chemicals. If the condemned inmate is
          responsive, the Warden shall direct the Executioner to switch to the secondary IV
          line. See Contingency Issues on p. 69.

     8.   Following the completion of the lethal injection process, and a five-minute waiting
          period, all blinds are closed, the closed circuit TV camera is disengaged, and the
          privacy curtain is closed. The Warden then asks the Physician to enter the room to
          conduct an examination. The Physician reports his findings to the Warden or
          designee. If the inmate is not deceased, the procedures on p. 69 shall be followed.

     9.   The inmate is pronounced deceased by the Physician. The Lethal Injection Recorder
          or designee records the time that death is pronounced.

     10. The Warden or dcsignee announces that the sentence has been carried out and
         invites the witnesses to exit. The Warden announces the following: "The sentence of
                       _____ has been carried out. Please exit."

     11. The witnesses are then escorted from the witness rooms by Escort Officers. After
         the witnesses exit, the Warden or designee notifies the Commiss.ioner that the
         sentence of death has been carried out.

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     12. The Commissioner or designee notifies all appropriate State officials that the
         sentence has been carried out. Media representatives are notified by the TDOC
         Director of Communications and Public Relations or designee.

     13. The Extraction Team removes the restraints.

     14. The Medical Examiner staff assists in removal of the body and placement in the
         Medical Examiner's vehicle, which is in the capital punishment garage.

     15. The Medical Examiner's vehicle is cleared to exit the facility.

     16. The Lethal injection Recorder completes the Lethal Injection Execution Recorder
         Checklist.




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                                POST EXECUTION
     1. The body is transported to the State Medical Examiner for examination and release.

     2. The Assistant Commissioner of Prisons conducts an operational debriefing at the
        appropriate time.

     3. The Commissioner arranges for or mandates an EAP debriefing as needed.




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                                                                                  Attachment 4
                             CONTINGENCY ISSUES

IV Line Alternatives

The cut-down procedure is used unless the Physician chooses a different method to find an
IV site.

Interru                                                                               IV line
or inmate exhibits signs of conscio                                                  of first
sy1·h1ges containing 1nidazolam.

The Executioner switches to the secondary IV line and, starting with syringe #1 (blue),
begins the administration of the second set of syringes using the reserve tray. Following
the administration of the second set of syringes containing midazolam and the saline flush,
the Warden shall conduct a second consciousness check as set forth on p. 66 herein before
proceeding with the administration of the second and third chemicals.



If the inmate is not deceased after the initial set of syringes has been injected, the physician
returns to the designated waiting area. The curtain is opened, blinds raised, camera
activated, and the Warden gives the command to repeat the lethal injection procedure with
the second set of syringes (blue). After this procedure is completed, the blinds will once again
be closed, closed-circuit TV camera disengaged, and the privacy curtain closed. The Warden
will once again ask the Physician to enter the room and check for signs of life.




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                                                                                      Attachment 4
                         VII. VICTIM SERVICES




             RIVERBEND MAXIMUM SECURITY INSTITUTION




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                                                                    Attachment 4
                                  VICTIM SERVICES
Notification

The TDOC Victim Services Director works closely with the victim liaison from the Attorney
General's Office, to confirm the list of victims/family members/interested parties registered
for notification. Letters and packets are sent to each. The letter is specific to the registrant's
permission to view the execution, as mandated by law:

     •   Victim famj}y members: Those who are permitted to witness the execution. These
         persons receive a letter, requesting their choice to witness or attend the execution.
    •    Other victim family members: Extended family members who may wish to attend
         the execution to provide support to those who are permitted to view the execution,
         but by law, are not personally allowed to view the execution.
    •    Other interested party/support persons: Persons identified by victim family
         members who would attend the execution to provide support to those who are
         permitted to view the execution, with permission granted on a case-by-case basis by
         the Warden.

Packets include:
   • Cover letter
   • Official letter
   • Official response forms
   • Copy of the TN law 40-23-116 Manner of executing sentence of death -- Witnesses
   • DVD "The Other Side of Death Row"
   • Booklet "What to Expect at an Execution"
   • Map
   • Media guidelines
   • Critical Incident Stress Management flier

These notifications are sent out to correspond in time to the announcement of the media
lottery.

The Victim Services Director prepares a list of persons who plan to witness the execution,
and of those who plan to attend the execution. The Victim Services Director will
communicate any desire to speak to the media to the TDOC Director of Communications
and Public Relations .

Accompm1iment

The facility provides a private room in the Administration Building for persons viewing and
attending the execution to use . Those witnessing or attending the execution are brought to
the facility by the Attorney General's Office at a time agreed upon by TDOC Central Office
and the Warden. The Victim Services Director meets them at the facility and escorts them
to the private room. This room provides a place for witnesses to leave belongings and for
attendees to wait for the return of the witnesses.


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                                                                                         Attachment 4
 The Victim Services Director will accompany witnesses through the execution process. A
 designee will be assigned to remain and wait with any persons who accompany and wait in
 the Administration Building for witnesses to return.

 At the time determined by the Warden/designee, the witnesses are processed through the
 check-point and taken into the prison facility room(s) next to the visitor galley, where they
 will remain until escorted into the victim's viewing room for the execution.

 After the execution is completed, the witnesses are escorted back to the Administration
 Building where they are reunited with any persons who were there waiting for them. The
 TDOC Director of Communications and Public Relations will arrange for witnesses to speak
 to the media should they desire to do so. Afterward, the entire group will be escorted out of
 the prison to their awaiting vehicles.




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                                                                                     Attachment 4
                     CONFIDENTIAL

         NOT FOR PUBLIC RELEASE
                      VIII. PERIMETER SECURITY

  PRIOR TO, DURING, AND SUBSEQUENT TO AN EXECUTION




            RIVERBEND MAXIMUM SECURITY INSTITUTION




                     CONFIDENTIAL

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                                                                    Attachment 4
                                IX.   FORMS




            RIVERBEND MAXIMUM SECURITY INSTITUTION




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                                                                    Attachment 4
          NOTIFICATION LETTER TO SHERIFF'S OFFICE TO WITNESS
                         EXECUTION OF INMATE




                                         STATE OF TENNESSEE
                                   DEPARTMENT OF CORRECTION
                             RIVERBEND MAXIMUM SECURITY INSTITUTION
                                  7476 COCKRILL BEND BOULEVARD
                                  NASHVILLE, TENNESSEE 37243-0471
                             TELEPHONE (615) 350-3100 FAX (615) 350-3400

 Date

 John Doe, Sheriff
 Tennessee County Sheriffs Department
 PO Box 000
 City, TN 37209

 Dear Sheriff Doe:

 Records of the Tennessee Department of Correction reflect that on _ _ __ _ __ __, inmate
 _ _ __ __ _ _ __ _ was convicted of First Degree Murder and sentenced to Death regarding
 _ _ __ _ __ _ County case #_______. An order has been received scheduling inmate
 _ _ _ _ __ ____'s execution for _ _ _ _ _ _ _ _ . The execution is scheduled for _ __
 (CST) on that date.

 Pursuant to TCA 40-23-116, the sheriff of the county in which the crime was committed is entitled to
 be present at the carrying out of such death sentences.

 The Tennessee Department of Correction needs to know if you are interested in viewing the legal
 execution of inmate _ __ _ _ _ _ _ _ ,. In order to expedite this process, please sign and date
 on the respective line below indicating your intentions. Afterwards, fax the letter with your
 signature to my office at the Riverbend Maximum Security Institution at 615-350-3400. If you plan
 to attend, provide a telephone number where you may be contacted day or night. Further, you
 should be at the Riverbend Institution by 5:30 pm on _ _ _ _ _ __ _ and bring your
 notification letter with you, along with a picture ID. Upon arrival at the facility, please present the
 letter to the Checkpoint Officer . If you have any questions regarding this matter, please feel free to
 contact me by calling 615-350-1103, , extension 3103, for further information.



 Warden

 ABC:aa

 I will attend.                   Signature                               Date
                                  Telephone No.
 I will not attend,               Signature                               Date
                                  Telephone No. _ _

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                                                                                              Attachment 4
           NOTIFICATION LETTER TO INMATE'S FAMILY TO WITNESS
                              EXECUTION




                                         STA'l'E OF TENNESSEE
                                   DEPARTMENT OF CORRECTION
                             RIVERBEND MAXIMUM SECURITY INSTITUTION
                                  7476 COCKRILL BEND BOULEVARD
                                  NASHVILLE, TENNESSEE 37243-0471
                             TELEPHONE (615) 360-3100 FAX (615) 360-3400

 Date


 Ms. Mary Jane Smith
 PO Box 000
 City, TN 37209

 Dear Ms. Smith:
Records of the Tennessee Department of Correction reflect that on _ _ _ _ _ ____ , inmate
_ __ _ _ _ __ _ _ _ was convicted of First Degree Murder and sentenced to Death regarding
_ _ _ _ _ _ _ _ County case #_____ __. An order has been received scheduling inmate
_ _ _ __ _ __ __ 's execution for _ __ _ _ ___ . The execution is scheduled for 7:00 pm
on that date.

 Pursuant to TCA 40-23-116, members of the condemned inmate's immediate family may be present
 at the carrying out of such death sentence . Records indicate that you are the _ _ _
 of inmate                          · therefore, you are eligible to be present.

 The Tennessee Department of Correction needs to know if you are interested in viewing the legal
 execution of inmate                          . In order to expedite this process, please sign and date
 on the respective line below indicating your intentions. Afterwards, fax the letter with your
 signature to my office at the Riverbend Maximum Security Institution at 615-350-3400. If you plan
 to attend, provide a telephone number where you may be contacted day or night. Further, you
 should be at the Riverbend Institution by 5:30 pm on _ _ __ _ _ _ _ and bring your
 notification letter with you, along with a picture ID. Upon arrival at the facility, please present the
 letter to the Checkpoint Officer. If you have any questions regarding this matter, please feel free to
 contact me by calling 615-350-1103, extension 3103, for further information.



 Warden

 ABC: aa

 I will attend.                   Signature _                             Date
                                  Telephone No. _

 I will not attend .              Signatul'e _____                        Date
                                  Telephone No.

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                                                                                               Attachment 4
                       PHYSICIAN'S INVENTORY CHECKLIST

            (4)      5cc syringes

            (4)      Small tubes Betadine ointment

            (12) Pair gloves (sterile), size 7½

            (12) Pair gloves (sterile), size 8

            (2)      Prep kits

            (2)      BP cuffs

            (2)      Stethoscope(s)

            (1)      Flashlight with batteries

            (8)      Chux

            (1)      Cut-down trays

            (2)      Lidocaine 2%

            (2)      Lidocaine 2% with Epinephrine

            (2)      4-0 vicryl

            (2)      4-0 ethilon sutures

            (1)      5-0 vicryl

            (2)      5-0 ethilon sutures

            (2)      PPE size XL

            (1)      PPE size XXL

            (2)      Face shields

            (1)      Scissors

            (2)      Scalpel #11 & #15




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                                                                    Attachment 4
                       IV TEAM INVENTORY CHECKLIST

             Normal saline 1000 cc or more

             Solution set

             Extension tubing sufficient to reach condemned inmate

             Tourniquets - various styles

             Assortment ofIV catheters (range 18 gauge to 21 gauge)

             Assortment of surgical tape

             Arm boards

             Tegaderm transparent dressing

             Alcohol pads

             Sharps container

             4x4 Gauge pads

             Red biohazard bag

             Chux

             Latex-free gloves




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                                                                      Attachment 4
                     CHEMICAL PREPARATION TIME SHEET
 Date_ __ _ _ __

                                   RED

 500 mg Midazolam                                      Time

 2-Syringes prepared by _ _ _ _ __ __ __ __ at - -- - - '

 Witnessed by _ __ __ _ _ __ __

 100 mg Vecuronium Bromide

 2-Syringes prepared by _ _ _ _ _ _ _ _ _ _ _ _ at _ _ _ _ _,

 Witnessed by _ _ _ _ __ _ _ _ __

 240 mEq Potassium Chloride

 2-Syringes prepared by _ __ _ __ _ _ _ _ __ at _ _ _ __

 Witnessed by _ _ _ _ _ _ _ _ _ __

 Saline

 3-Syringes prepared by _ __ __ _ _ _ _ _ __ at _ __ _ __

 Witnessed by _ _ _ _ __ __ _ __




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                                                                    Attachment 4
                                   BLUE

 500 mg Midazolam                                      Time

 2-Syringes prepared by _ _ _ _ __ __ _ __ _ at _ __ _ __ .

 Witnessed by _ _ _ _ _ _ __ __ __

 100 mg Vecuronium Bromide

 2-Syringes prepared by _ _ _ _ __ __ __ __ at _ _ _ __ _

 Witnessed by _ _ _ _ _ _ __ _ _ __

 240 mEq Potassium Chloride

 2-Syringes prepared by _ _ _ _ __ __ _ _ _ _ at _ __ _ __

 Witnessed by _ _ __ _ _ _ _ __ __

 Saline

 3-Syringes prepared py____   ________ at _ _ _ __            _

 Witnessed by _ _ __ _ __ _ _ __ _




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                                                                    Attachment 4
        DAY OF EXECUTION - LETHAL INJECTION EXECUTION RECORDER
                               CHECKLIST

 Inmate Na111e, _____________ Inmate #______

 Date _ _ _ __ __

   TIME

                     Report to designated area for final briefing

                     Extraction Team and IV Team report to Death Watch Supervisor's office for final
                     briefing. IV Team sets up IV system.

                     Physician in place

                     IV Team .in place (EMTs and Officers)

                     Medical Examiner in place

                     Team Leader in place

                     Check blinds and curtains

                     Advise Escort Officer to transport Official Witnesses to Parole Room

                     Advised by Escort Officer that Official Witnesses are in Parole Room

                     Advise Escort Officers (2) to escort Victim's Witnesses to Viewing Room

                     Advised by Escort Officers (2) that Victim's Witnesses are in place

                     Warden or designee checks to ensure execution is to proceed

                     Gurney positioned in Death Watch Area

                     Extraction Team enters cell and secures condemned inmate to gurney

                     Advise Escort Officer to transport Official Witnesses to Death Watch vestibule

                     Advised by Escort Officer that Official Witnesses are in the vestibule

                     IV Team enters the Execution Chamber

                     IV Team exits the Execution Chamber

                     Advise Escort Officer to "Transport Official Witnesses in place"

                                                                    Recorder's Initials_, ____




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                                                                                               Attachment 4
       DAY OF EXECUTION - LETHAL INJECTION EXECUTION RECORDER
                          CHECI{LlST {coutini1ed)


Inmate Name.~._____ __ __ _ _ Inmate#_ _____

Date ______ _

   TIME

                         Advised by Escort Officer that "Witnesses are in place"

                         Warden checks with Command Center to proceed

                         Warden orders blinds opened, closed circuit TV activated, and audio activated for
                         viewing rooms.

                         Warden asks inmate for any last comments

                         Warden orders Execution Team to proceed

                         Lethal Injection process completed

                         Blinds and curtains closed and closed circuit TV deactivated

                         Physician enters the Execution Chamber

                         Physician pronounces death - exact time

                         Audio deactivated to witness rooms

                         Advise Escort Officers (2) to remove Victim'. s Witnesses

                         Advise Commissioner or designee in Command Center that execution is
                         completed

                         Physician and EMTs depart

                         Medical Examiner escorted to chamber to take possession of body. Pictures will
                         be taken of body and Execution Chamber prior to removal of body

                         Advised by Escort Officer (2) Victim's Witnesses are at Checkpoint

                         Advise Escort Officer to remove Official Witnesses

                         Advised by Escort Officer that Official Witnesses are at Checkpoint

                         The body removed from the institution

                                                                       Recorder's Initials



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                                                                                                 Attachment 4
       DAY OF EXECUTION -LETHAL INJECTION EXECUTION RECORDER
                         CHECKLIST (continued)

Inmate Nam __________ __ Inmate#_ _ _ __

Date _ __ _ _ __


Inmate's Comments if any:




Lethal Injection Recorder           Date




Warden                              Date




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                                                                    Attachment 4
LETHAL INJECTION CHEMICAL ADMINISTRATION RECORD

Inmate Name_ _ _ __ __ _ _ _ _ Inmate #_ _ __

Date_ __ _ _ __

                                SET 1       (Red)

                              Chemical              Time Begin

          Syringe 1           Midazolam

          Syringe 2           Midazolam

          Syringe 3           Saline

(Two minute waiting period)

Consciousness check notes:



          Syringe 4           Vecuronium Bromide

          Syringe 5           Vecuronium Bromide

          Syringe 6           Saline

          Syringe 7           Potassium Chloride

          Syringe 8           Potassium Chloride

          Syringe 9           Saline



                                               End Time - - --
          Recorder Signature _ _ _ _ _ _ _ __ _ __ _

          Wai-don _ _ _ _ _ _ _ _ _ _ _ __ _ __ __


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                                                                    Attachment 4
 LETHAL INJECTION CHEMICAL ADMINISTRATION RECORD

        Inmate Name _ _ _ __ _ __ ___ lnmate # _ _ _ __

        Dat ____ _ _ __

                                  SET 2      (Blue)


                               Chemical               Time Begin

        Syringe 1              Midazolam

        Syringe 2              Midazolam

        Syringe 3              Saline

(Two minute waiting period)

Consciousness check notes:   - - -- - -- - - - - - -- -- - - - - -


        Syringe 4              Vecuronium Bromide

        Syringe 5              Vecuronium Bromide

        Syringe 6              Saline

        Syringe 7              Potassium Chloride

        Syringe 8              Potassium Chloride

        Syringe 9              Saline

                                                    End Time - - - -
        Recorder Signature _ __

        Warden _ __ __ __ _ _______ ~ - -



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                                                                    Attachment 4
                                   State of Tennessee

                           DEPARTMENT OF CORRECTION

                                       News Release

The Department of Correction reports that pursuant to the order of the
Tennessee Supreme Court and in accordance with state law, the capital
punishment sentence of _ __ __ _ _ _ _ __ ________ has been
carried out.


Time of execution was _ _ __ _ _ _ am/pm on _ __ __ _ __ _ _ _ __
                                                   (date)

                                              was pronounced dead by attending
                     (Inmate's name)

physician at _ _ __ _ __ _ _ _ _ _ am/pm.




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                                                                        Attachment 4
                      Affidavit Concerning Method of Execution
Under Tennessee law, you have the right to have your execution carried out by lethal injection. You
also have the option of waiving this right ---and choosing electrocution as the method of your
execution. The purpose of this affidavit is to allow you an opportunity to either waive your right to
have your execution carried out by lethal injection or to decline to waive that right. Failure to
complete this form will result in the execution being carried out by lethal injection. You will not be
given another opportunity to waive your right to have your execution carried out by lethal injection.
If you waive your right to have your execution carried out by lethal injection, you may rescind that
waiver by contacting the Warden no later than 14 clays prior to the date of the execution and
signing a new affidavit to that effect.



I, _____________, TDOC.# - - - ~ make the following choice concerning the
method of my exeeution set to be carried out on the __ day of ___________

         ___ I waive the right to have my execution carried out by lethal injection and choose
              to be executed by electrocution.


                                                                   Signature of Inmate


          ___ I have been given the opportunity to waive my right to have my execution carried
               out by lethal injection and I decline to waive that right.


                                                                   Signature of Inmate


I  certify that  I  presented  this   Affidavit Concerning                  Execution     to    inmate
_ _ _ _ _ _ _ _ _ __ __, TDOC No. _ _ _ _ _ _ __, and

       ___ The inmate refused to sign.

       ___ I witnessed the inmate sign this affidavit.



                                                                   Signature of Warden/Designee



 Sworn to and subscribed before me this ___ day of ________ _____ , 20__ .


                                                                   Notary Public
 My Commission expires _ _ _ _ _ _ _ _ .




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                                                                                               Attachment 4
                                                      STATE OF TENNESSEE
                                             DEPARTMENT OF CORRECTION
                                             4,11 FLOOR RACHEL JACKSON BLDG.
                                                   320 SIXTH AVENUE NORTH
                                             NASHVILLE, TENNESSEE 37243-0466

      APPLICATION FOR NEWS MEDIA REPRESENTATIVE
     TO ATTEND AN EXECUTION OF A SENTENCE OF DEATH

 Name of Inmate Under Sentence of Death _ __ _ _ __ _ _ __ __ _ _ __

 Name of News Media Outlet

 Name of News Media Representative •- -- - - - - -- - - -- - - - - - -

Mailing Address

Phone                                                                   Fax    ---------- - -- - - -
E-Mail Address

Indicate the news media pool to which the applicant news media agency is to be
assigned.

                News Media Agency (print, radio or television) in the county
                where the offense occurred (if print, also designate Metro or
                Community below)

               Associated Press

                Metro Print Media Agency

                Community Print News Media Agency

                Other Television News Media Agency

                Other Radio News Media Agency
PLEASE.NOTE; Th e I. c parLmen t will accc p~ ouly one (1) app licoU on from enc b n e ws m ctlin ngcJ1c y . /\ pe.i·s n
may be named as u Ne ws Mc dit1 g<m cy R c p,•oi;entn!Jvf' n onl y o ne (1) np p li cntio n. No ue ws m eclin ug-e ucy
representative sclcc l cd to witn ess h e execu tion of n se n te n e of cl •nt h s h.Ill h ave exclus ivf' rig hls to th e story .
Immediately after t he executio n of t he de11 t 11 sc11tencC! l~ compl ete, 11 11 Ill di n rcprescn t a t.ive w it n ess s lrn ll nrn l<e
themselves available for a news conforencc for other ne w s m l! di r, r 1> r11· •scl tt. ~ l;lv <'s not s,: lec Lcd to nu.e nd th e
execution. Submission of an application constitutes acceptnnce of this condition.



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                                                                                                                              Attachment 4
                                                                   RliLES
                                                              OF
                                                 DEPART:\IENT OF CORRICTION
                                                   ADULT SERvlCES DIVISION

                                                           CHAPTER 0420-3-4
                       SELECTION" OF 1\-i:\YS i\·l EDIA AGENCY REPRESEl\'TA TIVES TO ATTE!'.-U
                                            AN EXECUTION OF A DEATH SENTE!'iC:E

                                                        TABLE OF COl'iT.ENTS

       0420-3-4-.01       l'n:lllc•                                      0410-3-4-.04        App~caijon ond Selecficu P,oces,
       0420-3-4-.02        Applicabilily                                 0420-~4- 05         Wimes. <i11id,liw,,,
       0,U0-3-4-.03        Definitions


       0420-3-4-.01 PREFACE

       Un<kr the authority ofT.C.A. §40-23-116, the Depamueut ofCoae<:tion is authorized to promulgate rules that
       establish ciiteria for the selection of news media represrotatives to attend an execntion of a ~entence of death.

       Aulhority: T.C.A. §40-23-ll6. Atfmi11istrnlin: His1or,•; On'ginal 111/eJi/9d Ju~v 28, 19.9.9,· November 29, 1999.
       Rflptml and new 171~ filed Novt>mbar 21, 2000; effccti,,., F.,lmwr;r 6, 2001 .

       0420-3-4-.02 APPLICABILITY

       Pncsuant to the authority ofT.C .A. §40-23-116. tl1ese nues shall apply to nll ne-ws media agencies and their
       representative~

       A111hori(v: T.C.A. §40-23-116. Admiri;.trra1i,•,· Hisro1·11: 01·igi>1a/ ntli!.file<i J11/y 28, 1999; Noi·embe, · 29, 1999.
       Rapeai and new ntlefi/e4 Novl'mooi· 22, 2000; effecth•e FabntmJ· 6, 2001 .

       0420-3-4-.03 DEFThTTIONS

              (I)     Commwity Print News Medin Agency: A Pri.111 Nev.'S M~diH Agency other than a Metro Piim News
                      MC{lia Agency.

              (2)     General lnte'fest and Coverage: Tue h,111dling of a broad rouge of spot ~ws such as llaffic accidents,
                      fires, disasters, govemmeutal events . as well as economic, bt~~in~,. ~ocial, sports, and human interest
                       news.

              (3)     Metro Print News Media Agency: A Print New,; Media Agency which maintnius a full-time presence
                      at the slllte Capitol, covering day-to-day ope'Cation~ of stare- government.

              (4)     News Media Agency: A Print, Radio or Television New.~ Media Ag.-ncy or TI1e Associated Press.

              (5)     'Ne-.n Media Agency Representnti,·e: A pen.on Regularly Employed by n N.-ws Media. AgetlC)' and
                       designated by ~uch Nl'ws Media Agency to attend and wituess an execu1iot1 of a denth sentence on
                       behalf of rhe New Medi~ Agency.

              {6)     Pri.ut New~ Media Agency: A ne-,\·~111,pec .,f r..:-nnn l 1rc-uln11,,n. b~ rmi, ;1 u I~ or nnme. regularly
                      i~sued at le.t~t as frequently as once- t1 1wc!.. fo1 a (1~11,1, v,icc, hn'\. 111g ~cotld cl~H mailing pri,·ilcge,
                      being not lt<>s th,m foiu· (4) pages, pul,l1 sh,d contmuously duri.,1g rile inuut di. hUJ preceding one-year
                      period. v:hicl1 is published for the- d i~\cmrnnHOJt .,f ue"~ o( gc,1cr, I mtect:R , ·•mge nnd circulntion
                      in an area within Tenne%et"




       Fd,rn.,ry. ~001 (Revi~ed)




RP.V . ,fo\y 5, 2018                                                                                                                       Page 94




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                                                                                                                                           Attachment 4
           SELECTION OT NEWS MEDJA AGENCY REPRESENTATfVES                                                         CHAPTER 0420-3-4
           TO ATTEND AN EXECUTION OF A DEATH SENTENCE

           (R11le 0420-3 --'l- .03 . continued)

                  (7)     R.,dio :-;'t ws Medi~ Aicucy; The Tew15,,:e Radio Network or a radio broad.cast station which
                          rcg ulnrly d1 %nuu1111es ue w. of gencrnl lllle1C5.I and coverage and lu,s either its city of licens, (as
                          llelermined b · w e fedcrlll go,..,nuni,111) or broad,:a5t transmitter located iu Temies~e.

                  (8)     Regularly Employed: Employed on a consistent , conlinuing ha.s is and not solely for Uie purpo~e- of
                          witnc.~sing an executiou of a ;entence of dea1h or otherwise on a temporary or short-term basis_

                  (9)     TeleYisiou News Media Agency: A teleyi,ion broadca\t sration which regularly disseminates news of
                          general imerest and coverage and hns either its city of license (as detemrined by ihe federal
                          govenunenl) oc broadcast trammitter locored in Tennes~ee .

                  (10)    Warden: \Varden of the Riverbend Maximtun $e-cmity Institution_

           A.111/wriiy: T.C. A. § 40-23-ll 5; § 40-23-116. Adminism,riv~ Hi,tory: Original n,la filed Nowm1bcr 22, 2000;
           oi}ective FQbmmy 6, WO/.

           0420-3-4-.04 APPLICATION A.ND SELECTION PROCESS

                  (I)     The selection of News Media Agency Reprem1tati,·e~ ., hall be by clrawing to be held at Riverbc>nd
                          Maximum Securiry Iustih1tion, 7475 Cock11ll Bend Indmtrial Road_. Nl\,hville, Tenne'isee.

                  (2)     The Pnblic Infonnatio11 Office of the. Departmt'nl of Correction shall notify all New1J Media Agencies
                          of a sch d,tlr cl d1 , w11:ig 1h1ongh ii'<un nco: of nn "<fri.o,ory to tli~ A>!>OC111t~d Pr An am,oLutCl;fl!ent
                          ";JI auo be, pnblishc:cl m 1h~ Tmaes•tt Adminfotroi, t e Re~ rer provitlNl h w '-1:l. iu the ~,-~nr the
                          D c-p:irtmml Ul\S mwffic1en1 ~d\':111ct nouce of an rxtcution oote 19 meet plll)llcntion dendlinc• fot the
                          Tamcs~cc Admiui~1ra11\·e Regi\ kr, u,e annoM c ruen t o;holl be 15o;u ecl a-, SO<;lll os pr~cticnbl!· ~fler the
                          Dep1111mt•nt receives notice of the execuliou date.

                  (3)     The ndi;,ory nnd announce.ment ,hnll include the followiug:

                          (a)     0.-ndl.ine d,,te, time and location for receiving applic~tions from a New~ Media Agency de~iriug
                                  lo be included ;n the open drawing to wime.ss the exec11tion of the d,-ath sentN1ce.

                          (_b)    D~te, time, and loc.ttic,n wbeie th~ open dmwing will take pince

                  (4)     To be eligible for tlie drnwlllg, n New, M..din Agency !>hnll \11b1Lli1 :m 3pplic tio11 011 a form pr.i,icled
                          by the Departmenl of Correc1io11 011 or bde>re ,he deadline spc rfkcl uJ th• nd,1sOI)' lll1cVor n 1ir.c:- lhi,
                          npplic.aut ageucy shall de~ignme i1< Nt ws Mr d1n ,\geucy Rqxeseutarwe nnd 1be uews lllCdln pool for
                          whicb it qualifies u11der th•~•- ml ,,. 11,c DepMTrnent ,v:ill, ( cpl only o ne ( I) nppliellti,111 from ucli
                          News :Media Agency . A ixrson moy be Mrned .,s n N ew ~ Mwi/1 Ageucy 'Rq,1c~ 111n1ive oo 0111 'oue
                          (I) application

                  (5)     1l1e WMcleu or d,;-,; iguce wnU ,11,~rgu an identi(ring mun~, to each application received . Prior ro the
                          commencement or th~ d, • WIil!,! Lhr \Varden or designer slrnll posf a list coo1aining lhe News Media
                          Agency nmne _. ~cw ~ .).11, dm ApC"1K)' Represematiw nnme. munber and assigned c111egory of each
                          application which me,,rs the rt>qniiemeuts set forth ill 1!us rnle.

                  (6)     Procedure for Dr~wing:

                          (a)     From those applicat1ons re-ceiwd wluch meet ,he req11 irmm11, sei for1h in this nde, o total <>f
                                  se;-en (7) New, Media ..\ge11r:1e- shall be ,elccte<I TI1e ageucies shall be sdrcted frnm 1he
                                  following categories in the followuig o, der :

                                          TI,e As~ociared Press (onr avµ!Jcahon );




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                                                                                                                                            Attachment 4
          SELECTION OF NEWS MEDIA AGEKCY REPRESENTATIVES                                                              CHAPTER 0420-3-4
          TO ATTEND AN EXECUTION OF A DEATH SEl\1£NCE

           (Rule 0410-3-4-.04, continued)


                                    2.     One News'M<'dia Agency in the county wh~.-e the offense ocrurred;

                                    3.     One Metro Print No,ws Media Agency;

                                    4.     On<> Conmiunity Print News M<'dia Agency·;

                                    5,     Two Teln-i~ion News Media Agencies; and

                                    6.     One Radio New~ Medrn Ageucy.

                             (b)    In tM e.vent more th.in one qualifying application i, rer,,_i,..-d for category (a)(ii), the
                                    npplications not selected in tl1M category shall be reassigned to approprinte categories.

                             (c)    If one or wore categories caunot be filled due to au nu.uffic1e11l number of qualifying
                                    application~ in lhe category, qualifying 11pplic11tion, rn11ttin111e ~lkr nJ\ olhe1· sdectio~ have
                                    been mnde shall be combined into one ~election poo l from which :m npplicmion shall b~ drav.n
                                    to fill each nnfi.lled position.

                             (d)    Aller se\'en (7) N.:w~ Media 1'-tJ~11c.y·Repc.:,;en1a11\·e5 l,.n:e bc.-n selected through the process set
                                    oul in (n) through (c), all r<'mnming ~ppliaa tions shnll 'be combi1\ed into one selection pool from
                                    wl!ich , fit~ t altemn~ ru1d n 1tco11d alte,mnlc \ llllll ~ dmwn_ Alternates .,bnll be Bllowed, in
                                    order of selection. to ~ub•til\1te for a New, Media Agency Representativ,e ,elected as a witness
                                    who is w1able io attend aud wiruess tbe execution of a death ,enlence.

                    (7)      After the drnwing the Department of Correction .bll.ll promptly iswe          lUl   advisory lo the Associated
                             Prt".';S idnitifyiug the- Nm-s Media Agency Ret>rt>sentat:rves ~~leered.

                    (8)      Ntw, Mrdfo A.gn1 Reprc~n1tJtii1e~ wall be ~nll;cct 10 I.he approlTll l of 1l1c Wftrclcn. Thc WGrden
                             m~y, in the \VJrckn ' cliscretion, d1snppro,·e or ticclmh: a willlM\ for reasous of safety or >ecunty No
                             Kew~ Mecuo A.gt-11 y R~n•~~utntl\·o ~hr. II be telnlcd 11 1lu: coudcnmcd prisoner or tho co11dt:11mc-d
                             _pri~one1 ' \ \-ic11ru or ,~ 11111, or lm\~ n11y permui\.l mtere~t iu rhe m,c. News Media A_g•11cy
                             Rcim:~1.1tl\'U m11sL be ei tlltttn (18) yea I'\ of age 01 11L«le1 .

                    (9)      Tbe Deprutmeut of Correction will allow no substitution of News Media Agencies or News Media
                             Agency Represenra1in.s.

                    (10)     In the eve1\t tM. exKution does not tiuce plac<' within one (1) yNir of tM date of the drawing, the
                             Couunissioner, in the Cou1m.issioner'• sole discretion, may cancel ch., remit of n drawing and, if
                             ncces.!,11!)'. direct thar a new drawing be held.

                       T.C.A..
           .4111/,ori()'.'          J 40-23-116.                                   O,·igi11a/ n,1" fih!d Nov<>mber     ..,,, 2000;   eff«rive
           Febrnmy 6, 2001.

           0420-3-4.-05 ,nr:-;i:ss GUDELl,"l::S

                    (I)      Ko New~ Medin Agency Represenlatiw· '1llow¢<1 to wicne•• the f'Xec11cion of a death se-uteocl" r.hall
                             hayc ..-xch1SiH: righrs to the storv Immediately after the execution of the dearh sentence i, complete,
                             all News Media Atiency R~fe,entati, c!. shall m.~ke them<;<el,·e~ a,·ailable for a news conference of
                             other news meclio repre,euratiY<'S ,ind ,ll~ll remain al the news conference 11util it ir. completed.

                    (2)      1lie news conference shnll b<' held at a location designated by the wa,Mn im,11edia1ely following thl"
                             execution.




           Febn1~1y. :!001 {Revi.,ed)




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                                                                                                                                                Attachment 4
            SELECTION OF NEWS MEDIA AGENCY REPRESENTATIVES                                                    CHAPTER 0420-3-4
            TO ATTEND AN EXECUTION OF A DEATH SENTENCE

            (Rule 0420-3-4- OS. continued)

                   (3)    Photographic or -recording equipme.nt are proh.ibited :al the execution site dming the exN:ution.

                   (4)    News Medi~ Agency Repu~e.ntatjve~ ~hall abide by all depa1tmental and institutional mle, amt
                          polides, and the directiv~ of authorized staff. Failure of a wimesI to do so may result in the wituess
                          being ex.duded nnd /or ,·emoved frorn the premises. The News Medin Agelll:-y RepresentotiYe nnd lhe
                          News Medin Agency being represented shaU be ineligible lo atknd future ('Xerntions without the
                          $pecific approval of the Couunissioner.

            A111hority: T.C.A. § 40-2.~-Jlo.     Admi11i1tralive lli.rtory:   Origi110/ mle fi/ud Now,mber 22, 2000,          effacriw,
            Februmy 6, 2001.




            F ebm.-1()', 200 I (Re\·ised)




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                                                                                                                                     Attachment 4
                    Affidavit to Select Defense Counsel Witness to Execution

Under Tennessee law, TCA 40-23-116, you may select one (1) defense counsel to witness
your scheduled upcoming execution. The Department of Correction needs to know who you
are selecting to be your witness.




!, _ __ _ _ _ _ _ _ _ _ _ ____, TDOC#_ _ _ _ _ __,· select the

following defense counsel witness: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ __



                                         Signature of Inmate                   Date




I certify that I presented this Affidavit to Select Defense Counsel Witness to Execution to
inmate

_ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ , TDOC# _ __ __ _ __ , and

        _ _ _ The inmate refused to sign.

        _ _ _ I witnessed the inmate sign this affidavit.



                                         Signature of Warden/Designee          Date



Sworn to and subscribed before me this _ _ _ day of _ _ __ _____ , 20 _ _ __

                                         My Commission expires _ __ __ _ __ _
 Notary Public




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                                                                                      Attachment 4
                               PHARMACY SERVICES AGREEMENT



       This PHARMACY SERVICES AGREEMENT ("Agreement") is being made and entered into by
and     between      _ _ _ _ _ _ _ _ __ _ __ __                     ("Pharmacy")    and
_ _ _ _ _ __ _ _ __ __ ("Department") oh this _day _ __ _ _ , 20_ , and is
being made for the purposes and the consideration herein expressed.

                                     WI TN ES S ET H:

         WHEREAS,      Pharmacy       is     a     pharmacy        licensed     in     the

_that provides controlled substance and compounded preparations to practitioners for office
use; and

        WHEREAS, Department is a State of Tennessee governmental agency that is responsible
for carrying out sentences of death by means of lethal injection; and

        WHEREAS, Department desires to engage Pharmacy to provide Department with certain
controlled substances and/or compounded preparations for lethal injection administration by the
Department to those individuals sentenced to death; and

        WHEREAS, Pharmacy and Department have agreed to enter into this Agreement setting
forth the terms under which Pharmacy will provide certain controlled substances and/or
compounded preparations to Department for use in lethal injection.

      Now, THEREFORE, in consideration of the covenants and agreements set forth herein,
Pharmacy and Department hereby agree as follows:

                                           Article 1
                                           SERVICES

        1.1     Controlled substance.        Upon a written request, which may be sent
electronically via facsimile or electronic mail, by Department, Pharmacy shall provide
Department with the requested controlled substance. Quantities of the controlled substance
shall be limited to an amount that does not exceed the amount the Department anticipates may
be used in the Department's office or facility before the expiration date of the controlled
substance and is reasonable considering the intended use of the controlled substance and the
nature of the services offered by the Department._For controlled substance, Pharmacy shall
dispense all drugs in accordance with applicable licensing regulations adopted by the
                                                    and the United States Food and Drug
Administration that pertain to pharmacies dispensing controlled substance.

        1.2    ·compounding Pr;eparations.     Upon a written request, which may be sent
electronically via facsimile or electronic mail, by Department, Pharmacy shall provide
Department with the requested compounded preparation. Quantities of the compounded
preparation shall be limited to ah amount that does not exceed the amount the Department
anticipates may be used in the Department's office or facility before the expiration date of the
compounded preparation and is reasonable considering the intended use of the compounded
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                                                                                        Attachment 4
 preparation and the nature of the services offered by the Department. For compounded
 preparations, Pharmacy shall compound all drugs in a clean sterile environment in compliance
 with pharmaceutical standards for identity, strength, quality, and purity of the compounded drug
 that are consistent with United States Pharmacopoeia guidelines and accreditation
 Departments. In addition, Pharmacy shall compound all drugs in accordance with applicable
 licensing regulations adopted by the _ _ _ _ _ __ _ _ _ __ __ _ _ that pertain to
 pharmacies compounding sterile preparations.

         1.3      Limitation on Services. Pharmacy shall only provide controlled substance and
 compounding preparations that it can prepare to ensure compliance with pharmaceutical
 standards for identity, strength, quality, and purity of the compounded drug that are consistent
 with United States Pharmacopoeia guidelines and accreditation Departments. In the event
 Department requests a controlled substance or compounded preparation which Pharmacy is not
 able to fill, Pharmacy shall notify Department.

         1.4      Recalls. ln the event that Pharmacy determines that a recall for any controlled
 substance or compounded preparation provided hereunder is warranted Pharmacy shall
 immediately notify Department of the medication and/or preparations subject to the recall.
 Pharmacy shall instruct Department as how to dispose of the medication or preparation, or may
 elect to retrieve the medication or preparation from Department. Pharmacy shall further instruct
 Department of any measures that need to be taken with respect to the recalled medication or
 preparation.

                                            Article 2
                                  OBLIGATIONS OF DEPARTMENT



         2.1     Written Requests. All requests for controlled substances and compounded
 preparations must be in writing and sent to Pharmacy via electronic mail or facsimile. The
 following shall appear on all requests :
                 A. Date of request;
                 B. FOR COMPOUNDED PREPARATIONS ONLY: Name, address, and phone
                    number of the practitioner requesting the preparation;
                 C. Name, strength, and quantity of the medication or preparation ordered; and
                 D. Whether the request needs to be filled on a STAT basis.

          2.2      Use of Controlled Substance and Compounded Preparations. Department
 agrees and acknowledges that all controlled substance and compounded preparations provided
 by Pharmacy may only be used by Department in carrying out a sentence of death by lethal
 injection and may not be dispensed or sold to any other person or entity. Department assumes
 full responsibility for administering any controlled substance or compounded preparations.

        2.3     Recordkeeping, Department agrees to maintain records of the lot number and
 beyond-use date of a controlled substance or compounded preparation to be administered or
 administered by Department that was prepared by Pharmacy. Department agrees to maintain
 inventory control and other recordkeeping as may be required by applicable federal and state
 laws and regulations .




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                                                   Article 3
                                            TERM AND TERMINATION

        3.1   Term. The Effective Date of this Agreement shall be the date first specified
above. The term of this Agreement shall be for a period of one (1) year unless sooner
terminated by either party pursuant to the terms and provisions hereof. If this Agreement is not
terminated by either party prior to the anniversary date of this Agreement or any renewal term,
this Agreement shall automatically renew for an additional one ( 1) year term.

          3.2          Termination.

          A. Either party to this Agreement may terminate this Agreement, with or without cause,
             by providing the other party sixty (60) days prior written notice of said termination.

          B. Pharmacy may immediately terminate this Agreement in the event of any of the
             following :

                       1. Department ceases to provide professional services for any reason.

                       2. Department's professional license is revoked, terminated, or suspended.

                       3. Department declares bankruptcy.

                       4. Department fails to comply the terms of this Agreement and fails to cure such
                          breach within 5 business days of receiving notice of the breach.

          C. Department may immediately terminate this Agreement in the event of any of the
             following:

                       1. Pharmacy's professional license is revoked, terminated, or suspended.

                       2. Pharmacy is excluded or debarred from participation in the Medicare and/or
                          Medicaid programs for any reason.

                       3. Pharmacy declares bankruptcy.

                       4. Pharmacy fails to comply the terms of this Agreement and fails to cure such
                          breach within 5 business days of receiving notice of the breach.

                                                   Article 4
                                               REPRESENTATION

       4.1      Re resentation b TN Attorne General. The Tennessee Attorney General's
Office will represent or provide repre se ntation to Pharmacy in any civil lawsuit filed against
Pharmacy for its acts or omissions arising out of and within the scope and course of this
agreement except for willful, malicious or criminal acts or omissions or for acts or omissions
done for personal gain. Any civil judgment leveled against Pharmacy arising out it's acts or
omissions pursuant to this agreement will be reimbursed by the State in accordance with the
terms of T.C.A. § 9-8-112. The Attorney General's Office will advocate before the Board of

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                                                                                               Attachment 4
 Claims for full payment of any judgment against Pharmacy arising out of a civil lawsuit in which
 the Attorney General's Office represents or provides representation to Pharmacy.

                                             Article 5
                                          Miscellaneous

       5.1      Amendment. This Agreement may be amended only by mutual agreement and
 reduced to writing and signed by both parties hereto.

        5.2     Payment. Pharmacy agrees to submit invoices within thirty (30) days after
 rendering services and/or providing controlled substances or compounded preparations to:
 TDOC Fiscal Director, Rachel Jackson Building, 5th Floor, 320 5 th Avenue North, Nashville,
 Tennessee, 37243. Department agrees to pay an annual fee to Pharmacy in the amount of
 $5,000.00 (five thousand dollars) .

      5.3    Captions.     Any caption or heading contained in this Agreement is for
convenience only and shall not be construed as either broadening or limiting the content of this
Agreement.

        5.4    ·sole Agr:eement. This Agreement constitutes the sole and only agreement of
 the parties hereto and supersedes any prior understandings or written or oral agreements
 between the parties respecting the subject matter herein.

         5.5     Controlling Law. This Agreement shall be governed by and construed in
accordance with the laws of the State of Tennessee. The parties hereto expressly agree that
this Agreement is executed and shall be performed in Davidson County, Tennessee, and venue
of all disputes, claims and lawsuits arising hereunder shall lie in Davidson County, Tennessee.

        5.6    Severabllity. The sections, paragraphs and individual provisions contained in
this Agreement shall be considered severable from the remainder of this Agreement and in the
event that any section, paragraph or other provision should be determined to be unenforceable
as written for any reason, such determination shall not adversely affect the remainder of the
sections, paragraphs or other provisions of this Agreement. It is agreed further, that in the event
any section, paragraph or other provision is determined to be unenforceable, the parties shall
use their best efforts to reach agreement on an amendment to the Agreement to supersede
such severed section, paragraph or provision.

         5. 7    Notice. Any notices under this Agreement shall be hand-delivered or mailed by
certified mail, return receipt requested to the parties at the addresses set forth on the signature
page of this Agreement, or such other addresses as the parties may designate to the other in
writing from time to time.




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         5.8    Agreement Subject to State and Federal Law. The parties recognize that this
Agreement, at all times, is subject to applicable state, local and federal laws including, but not
limited to, the Social Security Act and the rules, regulations and policies adopted thereunder
and adopted by the _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , as well as the public
health and safety provisions of state laws and regulations. The parties further recognize that
this Agreement shall be subject to amendments of such laws and regulations, and to new
legislation. Any such provisions of law that invalidate, or otherwise are inconsistent with the
terms of this Agreement, or that would cause one or both of the parties to be in violation of the
laws, shall be deemed to have superseded the terms of this Agreement; provided, however, that
the parties shall exercise their best efforts to accommodate the terms and intent of this
Agreement to the greatest extent possible consistent with the requirements of applicable laws
and regulations.

        5.9     Compliance With All Applicable Laws.                The parties hereto hereby
acknowledge and agree that each party shall comply with all applicable rules regulations, laws
and statutes including, but not limited to, any rules and regulations adopted in accordance with
and the provisions of the Health Insurance Portability and Accountability Act of 1996 ("HIPAA").
The parties hereby specifically agree to comply with all privacy and security rules, regulations
and provisions of HIPAA and to execute any required agreements required by all HIPAA
Security Regulations and HIPAA Privacy Regulations whether presently in existence or adopted
in the future, and which are mutually agreed upon by the parties. In addition, in the event the
legal counsel of either party, in its reasonable opinion, determines that this Agreement or any
material provision of this Agreement violates any federal or state law, rule or regulation, the
parties shall negotiate in good faith to amend this Agreement or the relevant provision thereof to
remedy such violation in a manner that will not be inconsistent with the intent of the parties or
such provision. If the parties cannot reach an agreement on such amendment, however, then
either party may terminate this Agreement immediately. This section shall survive the
termination of this Agreement.

         5.10    Referral Policy. Nothing contained in this Agreement shall require, directly or
indirectly, explicitly or implicitly, either party to refer or direct any patients to the other party.

        5.11 Assignment. This Agreement is not assignable without the other party's prior
written consent.

       5.12 Independent Contractor Status. In performing their responsibilities pursuant to
this Agreement, it is understood and agreed that Pharmacy and its pharmacists and other
professionals are at all times acting as independent contractors and that the parties to this
Agreement are not partners, joint-venturers, or employees of one another.

        5.13   Non-Waiver. No waiver by one of the parties hereto of any failure by the other
party to keep or perform any provision, covenant or condition of this Agreement shall be
deemed to be a waiver of any preceding or succeeding breach of the same, or any other
provision, covenant or condition.

       5.14 Counterparts/Execution.           This document may be executed in multiple
counterparts, each of which when taken together shall constitute but one and the same
instrument. In addition, this Agreement may be executed by facsimile or electronic signature,
which shall constitute an original signature.


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                                                                                             Attachment 4
          5.15 No Third-Party Beneficiaries. No provision of this Agreement is intended to
 benefit any third party, nor shall any person or entity not a party to this Agreement have any
 right to seek to enforce or recover any right or remedy with respect hereto.

        5.16 Confidentiality. Both parties agree to keep this Agreement and its contents
confidential and not disclose this Agreement or its contents to any third party, other than its
attorneys, accountants, or other engaged third parties, unless required by law, without the
written consent of the other party.

IN WITNESS WHEREOF, the parties have hereunto caused their authorized representatives to
execute this Agreement as of the date first set forth above.




 By:                                                  By:
 ~ame
 ,,                                                   Name:
 Title:                                              Title:    TDOC Commissioner


 Date:                                                Date:


 Address:                                           Address:      310 6'" Av.e. Nciith, ·6'11 Flobr
                                                                  Nashville, TN 37243




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